Case 8:16-bl<-06284-CPI\/| Doc 17 Filed 08/18/16 Page 1 of 47

Fill in this information to identify your case:

Debtor1 Nancy Kimba|| Mellon
First Name Middle Name Last Name

Debtor 2 _
(Spouse if, H|ing) First Name Midd|e Name Last Name

 

United States Bankruptcy Courtfor the: l\/llDDLE DlSTR|CT OF FLORlDA

 

Case number 8:16-bk-06284
(ifr<nown) |:| Check if this is an
' amended filing

 

 

 

Officia| Form 1068um

Summary of Your Assets and Liabi|ities and Certain Statistica| information 12/15

Be as complete and accurate as possib|e. |f two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. lf you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

 

Summarize Your Assets

 

1. Schedu|e AlB: Property (Officia| Form 106A/B)

1a. Copy line 55, Total real estate, from Schedu|e A/B ................................................................................................ $ 1’105’869'00
1b. Copy line 62, Total personal property, from Schedule A/B ..................................................................................... $ 53 828_91

1c. Copy line 63, Total of all property on Schedu|e A/B ............................................................................................... $

1,159,697.91

Summarize Your Liabilities

 

2. Schedu/e D: Creditors Who Have Claims Secured by Property (Official Form 106D)

 

 

 

 

 

2a. Copy the total you listed in Column A, Amount ofc/aim, at the bottom of the last page of Part 1 of Schedule D... $ 1’260’643'52
3. Schedu/e E/F.' Creditors Who Have Unsecured C/aims (Off`rcia| Form 106E/F)

3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedu/e E/F ................................. $ 537’659'00

3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedu/e E/F ............................ $ 188 884_68

Your total liabilities $ 1,987,187.20
Summarize Your |ncome and Expenses

4. Schedu/e /.‘ Your/ncome (Ofiicial Form 106|)

Copy your combined monthly income from line 12 of Schedu/el ................................................................................ $ 8’713'06
5. Schedu/e J: Your Expenses (Ochial Form 106J) -

Copy your monthly expenses from line 22c of Schedu/e J .......................................................................... $ 24'695'00

mnswer These Questions for Administrative and Statistica| Records

6. Are you filing for bankruptcy under Chapters 7, 11, or 13?
`l:| No. You have nothing to report on this part of the form. Check this box and submit this form to the court With your other schedules

l Yes
7. What kind of debt do you have?

- Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal, fami|y, or
household purpose." 11 U.S.C. § 101(8). Fill out lines 8-99 for statistical purposes 28 U.S.C. § 159.

L__I Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to
the court With your other schedules

Ofiicia| Form 1068um Summary of Your Assets and Liabilities and Certain Statistical information v page 1 of 2

Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com ’ Best Case Bankruptcy

Case 8:16-bl<-06284-CPI\/| Doc 17 Filed 08/18/16 Page 2 of 47

Deber 1 Nancy Kimball Mellon CaSe number (/`fknOW/?) 8:16-bk-06284

 

 

8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
122A-1 Line11; oR, Form 1225 Lrne11; oR, Form 1220-1 Line 14. $ 325041-25

 

 

 

9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

     

 

 

 

 

, copy the foilowir'zg: j '

9e. Domestic support obligations (Copy line 6a.) $ 0.00
9b. Taxes and certain other debts you owe the government. (Copy line 6h.) $ 537 659_00
90. Claims for death or personal injury while you were intoxicated. (Copy line 6c.) $ 0_0()
9d. Student loans. (Copy line 6f.) $ 36,924.00
9e. Obligations arising out of a separation agreement or divorce that you did not report as

priority claims. (Copy line 69. ) 0'00
9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.) +!i$l 0,00
99. Total. Add lines ea through 91. » ' $ 574,583.00

thcia| Form 1068um Summary of Your Assets and Liabilities and Certain Statistical lnformation page 2 of2

Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com Best Case Bankruptcy

Case 8:16-bk-06284-CPM Doc 17 Filed 08/18/16 Page 3 of 47

Fill in this information to identify your case and this filing:

D€bef 1 Nancy Kimball Me|lon ,
First Name Midd|e Name Last Name

Debtor 2
(Spouse, if G|ing) ' First Name Middle Name Last Name

 

United States Bankruptcy COurtfor the: l\/llDDLE DlSTRlCT OF FLORIDA

 

Case number 8:16-bk-06284 5 El Check ifthls is an
amended filing

 

 

 

' Official Form 106A/B
Schedule A/B: Property 12115

|n each category, separately list and describe items. List an asset only once. |f an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. lf two married people are filing together, both are equally responsible for supplying correct
information. lf more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

 

Describe Each Residence, Bui|ding, Land, or Other Rea| Estate You Own or Have an interest |n
1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

l:l No. so to Pan 2.

- Yes. Where is the property?

 

 

 

 

 

 

1.1 What is the property? Check all that apply
1015 Symph°ny ls|es B|Vd l SinQ|€'famlly home Do not deduct secured claims or exemptions Put '
Street address if available Or other description ¢ - - - the amount of any secured claims on Schedule D:
D le or lt- tb ld
m up X mu l um ul mg Creditors Who Have Clal'ms Secured by Property.
m Condominium or cooperative
I:I Manufactured or mobile home
` Current value of the Current value of the
ApOllO BeaCh FL 33572-0000 m Land entire property? portion you own?
City State Z|P COd€ m investment property ` $864,069.00 $864,069.00
' T' h
m 'mes are Describe the nature of your ownership interest
m Othe" (such as fee simple, tenancy by the entireties, or
Who has an interest in the property? Check one a |'fe estate)’ 'f known-
l Debtom On|y Homestead l Fee Simple
Hil|sborough l:l oebtor 2 only
County m
Debtor 1 and Debtor 2 only m Check if this is community property
m At least one of the debtors and another (See inSfNCinnS)
Other information you wish to add about this item, such as local
property identification number:
Ochial Form 106A/B Schedule A/B: Property page 1

Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com Best Case Bankruptcy

Case 8:16-bl<-06284-CPI\/| Doc 17/ Filed 08/18/16 Page 4 of 47

Debt0r1 Nancy Kimball Me|lon

lf you own or have more than one, list here:

1.2

What is the property? Check all that apply

 

 

 

1013 Symphony ls|es Blvd m Sing|e_fam"y home
Street address, lt available, or other description m Dup|ex Or multi_unit building
m Condominium or cooperative
I] Manufactured or mobile home
Apollo Beach FL 33572-0000 l La"d
city state ziP code l:l investment property
l:l Timeshare
m Other _
Who has an interest in the property? Check one
- Debtor1 only
Hil|sborough El Debtor 2 only
C°u“iv l:l Debtor1 and Debtor 2 only
m At least one of the debtors and another

Case number (l'fknown) 8;16-bk-06284

Do not deduct secured claims or exemptions.. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property,

Current value of the
entire property?

$241,800.00

Current value of the
portion you own?

$241 ,800.00
Describe the nature of your ownership interest

(such as fee simp|e, tenancy by the entireties, or
a life estate), if known.

Fee Simple

 

 

Check if this is community property
(see instructions)

Other information you wish to add about this item, such as local

property identification number:

 

2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for
pages you have attached for Part 1. Write that number here ........................................................................... =>

Describe Your Vehicles

 

$1,105,869.00

 

 

 

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? |nclude any vehicles you own that
someone else drives. lf you lease a vehicle, also report it on Schedule G.' Executoiy Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

l:l No
- Yes

3.1 Make: BMW
Model: 645Ci
Year: 2005

Approximate mileage:
Other information:

200000

 

Rough Condition

 

 

 

Who has an interest in the property? Check one

- Debtor 1 only

m Debtor 2 only

n Debtor1 and Debtor 2 only

n At least one of the debtors and another

l:l Check if this is community property
(see instructions)

Do not deduct secured claims or exemptions Put
the amount of any secured claims on Schedule D:
Credl'tors Who Have Claims Secured by Property.

Current value of the
portion you own?

Current value of the
entire property?

$1,000.00 $1,000.00

 

 

3.2 Make: BMW

Model:
Year:
Approximate mileage:

Other information:

 

-¢- 2 BMW Leascsl (see Schedule

 

 

 

Who has an interest in the property? Check one
l:l Debtor1 only

l:l Debtor 2 only

l:l Debtor 1 and Debtor2 only

- At least one of the debtors and another

Do not deduct secured claims or exemptions Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the
portion you own?

Current value of the
entire property?

 

 

G) lj Check if this is community property Uhknown unknown
(see instructions)
Ofticial Form 106A/B Schedule A/B: Property page 2

Software Copyright (c) 1996-2016 Best Casel LLC ~ www.bestcase.com

Best Case Banl<ruptcy

Case 8:16-bl<-06284-CPI\/| Doc 17 Filed 08/18/16 Page 5 of 47

Debtor 1 Nancy Kimball Me|lon

 

b Case number (ifknown) 8:16-bk-06284

4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
Examp/es: Boats, trailers, motors, personal Watercraft, fishing vessels, snowmobiles, motorcycle accessories

l:l No
- Yes

4.1 Make: Johnson

Model: 150
Year: 1997

Other information:

Who has an interest in the property? Check one

- Debtor 1 only

l:l Debtor 2 only
l:l Debtor 1 and Debtor 2 only
L_.l At least one of the debtors and another

 

 

condition

1997 OL|tbOai'd BOaf - pOOi' g Check if this is community property

 

(see instructions)

 

Do not deduct secured claims or exemptions Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the Current value of the
entire property? portion you own?
$500.00 $500.00

 

 

5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
.pages you have attached for Part 2. Write that number here ............................................................................. => $1'500'00

-Describe Your Personai and Househo|d items

 

 

 

 

 

Do you own or have any legal or equitable interest in any of the following items?

6. Househo|d goods and furnishings
Examp/es.' l\/lajor appliances, furniture, linens, china, kitchenware

rl:l No
- Yes. Describe .....

Current value of the
portion you own?

Do not deduct secured
claims or exemptions.

 

Location: 1015 Symphony isles Bivd, Apoiio Beach FL 33572
L|ViNG ROOM

1 sofa 15 yrs $25

2 chairs 20 yrs $20

1 loveseat 35 yrs $10

1 coffee table 20 yrs $5

1 desk 50 yrs $10

2 book cases 20 yrs $10

$80.00

 

 

 

Location: 1015 Symphony isles Bivd, Apo|lo Beach FL 33572
BEDROOMS

3 bed 20 yrs $100

3 night stands 30yrs $15

6 lamps 20 yrs $5

1 chair 30 yrs $5

3 desk 20+ yrs $30

3 dressers 20+ yrs $50

5 book cases 20+ yrs $10

$215.00

 

 

 

 

Location: 1015 Symphony isles Bivd, Apoiio Beach FL 33572
DlNlNGIK|TCHEN

1 table 30+ yrs $25

12 chairs 20 yrs $24

1 china cabinent 30+ yrs $25

2 sets of 12 pc fiatware 30+ yrs $10

20 pots l pans 30+ yrs $5

$89.00

 

 

 

Offlcia| Form 106A/B

Schedule A/B: Property

Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com

page 3
Best Case Bankruptcy

Case 8:16-bl<-06284-CPI\/| Doc 17 Filed 08/18/16 Page 6 of 47

DebiOr 1 Nancy Kimball Me|lon Case number (ifknOwn) 8:16-bk-06284

 

Location: 1015 Symphony isles Bivd, Apoiio Beach FL 33572
FAMiLY ROOM

2 sofas 20 yrs $5

2 chairs 20 yrs $5

1 end table 50 yrs $5

3 lamps 20 yrs $10 $25.00

 

 

 

Location: 1015 Symphony isles Bivd, Apoiio Beach FL 33572
PATlO
1 tabie, 4 chairs, 2 iounges, 1 grill - nominal value $1.00

 

 

 

Location: 1015 Symphony isles Bivd, Apoi|o Beach FL 33572
NON-AFFIXED APPL|ANCES

1 fridge 4 yrs $20

1 freezer 4 yrs $20

1 washer 10 yrs $5

1 dryer 10 yrs $5 `

1 microwave 20 yrs $5 $45-00

 

 

 

 

7. Electronics
Examples.' Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
including cell phones, cameras, media players, games
El No

- Yes. Describe .....

 

Location: 1015 Symphony isles Bivd, Apoiio Beach FL 33572
3 cell phones 2 yrs oid, 1 TV 10 yrs old $10.00

 

 

 

 

8. Coiiectibies of value
Examples.' Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card coilections;
other coilections, memorabiiia, collectib|es
m No

- Yes. Describe.....

 

Misc coilectibies l books / pictures / art v
Location: 1015 symphony isles Bivd, Apollo Beach FL 33572 $500-00

 

 

 

 

`9. Equipment for sports and hobbies
Examples.' Sports, photographic exercise, and other hobby equipment bicycles, pool tables, golf ciubs, skis; canoes and kayai<s; carpentry tools;
musical instruments

- No
L_.l Yes. Describe .....

10. Firearms
Examples.' Pistois, rifles, shotguns, ammunition, and related equipment

- No
l:l Yes. Describe .....
11. Ciothes

Examples.' Everyday ciothes, furs, leather coats, designer Wear, shoes, accessories

l:l No
- Yes. Describe .....

 

Misc. casual and work clothing
Location: 1015 Symphony isles Bivd, Apoiio Beach FL 33572 $1,000-00

 

 

 

 

Ofl"lcial Form 106A/B Schedule A/B: Property . page 4
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com , Best Case Bankruptcy

Case 8:16-bk-06284-CPI\/| Doc 17 Filed 08/18/16 Page 7 of 47

Debtori Nancy Kimballivlelion Casenumbeil”"”°““") 8=16"°*<'°6284

 

12. Jeweiry
Examples.' Everydayjewelry, costume jewelry, engagement rings, wedding rings, heirioom jewelry, Watches, gems, goid, silver

l:l No
- Yes. Describe .....

 

l Jeweiry $1,000.00

 

 

13. Non-farm animals
Examples.' Dogs, cats, birds, horses

l:l No
- Yes. Describe .....

 

|3 labs, 1 cat $0.00

 

 

14. Any other personal and household items you did not already |ist, including any health aids you did not list
- No

l:l Yes. Give specific information .....

 

15. Add the dollar value of ali of your entries from Part 3, including any entries for pages you have attached
for Part 3. Write that number here .............................................................................. $2,965-00

 

 

 

Describe Your Financiai Assets ,

Do you own or have any legal or equitable interest in any of the following? Current value of the
` portion you own?
Do not deduct secured
claims or exemptions

 

16. Cash .
Examples.' i\/ioney you have in your waiiet, in your home, irl a safe deposit box, and on hand when you file your petition

l:l No
- Yes ................................................................................................................

Cash on

person/proper

fy

Location:

1015

Symphony

isles Bivd,

Apoiio Beach

FL 33572 $20-00

 

17. Deposits of money
Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
institutions if you have multiple accounts with the same institution, list each. '
l:l No

l Yes ........................ institution name:

17.1. Checking Bank of Tampa (ends in 3070) $243.91

 

 

18. Bonds, mutual funds, or publicly traded stocks
Examples.' Bond funds, investment accounts with brokerage firms, money market accounts

-No

l:l Yes __________________ institution or issuer name:

19. Non-pub|iciy traded stock and interests irl incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
joint venture

-No

Ofiiciai Form 106A/B Schedule A/B: Property page 5
Software Copyright (c) 1996-2016 Best Case, LLC - www,bestcase.com Best Case Bankruptcy

Case 8:16-bk-06284-CPI\/| Doc 17 F'i|e_d 08/18/16 Page 8 of 47

Debtor 1 Nancy Kimball Me|lon Case number (ifknown) 8;16-bk-06284

l:l Yes. Give specific information about them ...................
Name of entity: ' % of ownership:

20. Government and corporate bonds and other negotiable and non-negotiable instruments
Negotiab/e instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

- No
l:l Yes. Give speciHc information about them
issuer name:

21. Retirement or pension accounts
Examples.' interests in iRA, ERiSA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
l:l No

- Yes. List each account separately.

 

 

Type of account institution name:
401(k) Weiis Fargo 401(k) $35,000.00
Profit Sharing Pian Weiis Fargo Deferred Compensation Pian

$89,000 not vested $0-00

 

 

22. Security deposits and prepayments
Your share of ali unused deposits you have made so that you may continue service or use from a company
Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, Water), telecommunications companies, or others

l:lNo

l Yes_ _____________________ institution name or individua|;

Water , Board of County Commissioners ` $100.00

 

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
- No

|:| Yes ............. issuer name and description.

24_ interests in an education iRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).

- No
l'_'_l Yes _____________ institution name and description. Separately file the records of any interests.11 U.S.C. § 521(0):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit

-No

l:l Yes. Give specific information about them...

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
Examples.' internet domain names, websites, proceeds from royalties and licensing agreements

- No
l:l Yes. Give specific information about them...

27. Licenses, franchises, and other general intangibles
Examples: Buiiding permits, exclusive licenses, cooperative association hoidings, liquor iicenses, professional licenses

- No
l:l ¥es. Give specific information about them...

iiiioney or property owed to you?` t Current value of the
portion you own?
Do not deduct secured
claims or exemptions

Official Form 106A/B Schedule A/B: Property page 6

Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com Best Case Bankruptcy

Case 8:16-bk-06284-CPl\/| Doc 17 Filed 08/18/16 Page 9 of 47

D€ber 1 Nancy Kimball Me|lon Case number (ifkriOWrr) 8:16-bk-06284

28. Tax refunds owed to you

l:lNo

- Yes. Give specific information about them, including whether you already filed the returns and the tax years .......

 

 

 

|RS Refund for 2010 based on 1040x $14,000.00

 

 

29. Fami|y support
Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement

-No

l:l Yes. Give specinc information ......

30. Other amounts someone owes you
Examples.' Unpaid wages, disability insurance payments, disability benents, sick pay, vacation pay, workers’ compensation, Sociai Security
benefits; unpaid loans you made to someone else

- No
l:l Yes. Give specific information..

31. interests in insurance policies
Examples.' Heaith, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance

-No

l:l Yes. Name the insurance company of each policy and list its value.

Company name: Beneficiary: Surrender or refund
value:

32. Any interest in property that is due you from someone who has died
if you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
someone has died.

-No

l:l Yes. Give specific information..

33. Ciaims against third parties, whether or not you have filed a lawsuit or made a demand for payment
Examples.'Accidents, employment disputes, insurance ciaims, or rights to sue

-No

l:l Yes. Describe each claim .........

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
- NO ,
l:l Yes. Describe each claim .........
35. Any financial assets you did not already list
- No
l:l Yes. Give specific information..

 

36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
for Part 4. Write that number here ..................................................................................................................... $49’363'91

 

 

 

Describe Any Business-Reiated Property You Own or Have an interest in. List any real estate in Part 1.

 

37. Do you own or have any legal or equitable interest in any business-related property?
- No. Go to Part 6.

l:l Yes. Go to line 38.

Part 6; Describe Any Farm- and Commerciai Fishing-Reiated Property You Own or Have an interest in.
if you own or have an interest in farmiand, list it in Part 1.

 

46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
- No. Go to Part 7.

Ofticiai Form 106A/B Schedule A/B: Property page 7
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com ' Best Case Bankruptcy

Case 8:16-bk-06284-CPl\/| Doc 17 Filed 08/18/16 Page 10 of 47

Deth|' 1 Nancy Kimball Me|lon CaS`e number (ifknown) 8:16-bk-06284

 

l:l Yes. soto line 47.

Describe All Property You Own or Have an interest in That You Did Not List Above

 

53. Do you have other property of any kind you did not already |ist?
Examples.' Season tickets, country club membership

- No
l:l Yes. Give specinc information .........

 

 

 

 

 

54. Add the dollar value of ali of your entries from Part 7. Write that number here .................................... $0_00
List the Totais of Each Part of this Form
55. Part 1: Total real estate, line 2 ...................................................................................................................... $1,1()5,869_00

56. Part 2: Total vehicles, line 5
57. Part 3: Total personal and household items, line 15

$1,500.00

$2,965.00

58. Part 4: Totalfinancial assets, line 36 . $49,363.91

59. Part 5: Total business-related property, line 45 $0_00
60. Part 6: Total farm- and fishing-related property, line 52 $0,00
61. Part 7: Total other property not iisted, line 54 + $0.00

62, Total personal property. Add lines 56 through 61... Copy personal property total

$53,828.91 $53,828.91

 

63. Total of ali property on Schedule A/B. Add line 55 + line 62 $1,159,697.91

 

 

 

Ofliciai Form 106A/B Schedule A/B: Property page 8
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com Best Case Bankruptcy

Case 8:16-bk-06284-CPl\/| Doc 17 Filed 08/18/16 Page 11 of 47

Fill in this information to identify your case:

Debt0r1 Nancy Kimball Me|lon
First Name Midd|e Name Last Name

 

Debtor 2
(Spouse if, filing) First Name Middle Name Last Name

 

United States Bankruptcy Courtfor the: i\/llDDLE DlSTl'\’lCT OF FLOR|DA

 

 

Case number 8:16-bk-06284
(ir l<noWn) y |:| Check if this is an
amended filing

 

 

Official Form 106C
Schedule C: The Property You Ciaim as Exempt 4/16

 

Be as complete and accurate as possible. if two married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule A/B.' Property(Official Form 106A/B) as your source, list the property that you claim as exempt. if more space is
needed, fill out and attach to this page as many copies of Part 2.' Additiona/ Page as necessary. On the top of any additional pages, Write your name and
case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory iimit. Some exemptions-such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds-may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
to the applicable statutory amount.

identify the Property You Ciaim as Exempt
1. Which set of exemptions are you ciaiming? Check one on/y, even if your spouse is filing With you,
- You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
l:l You are claiming federal exemptions 11 U.S.C. § 522(b)(2)

2. For any property you list on Schedule A/B that you claim as exempt, fill in the information beiow.

   

' no the property‘an

Cujtent value of the g
sts this property

portion you o n

 
 
 

   
 

Spe`cific laws that allow ’e

  
     

 

 

1015 Symphony isles Bivd Apoiio $864’069_00 - $0_00 Fla. Const. art. X, § 4(a)(1);
Beach, FL 33572 Hil|sborough ._ _-- Fla. Stat. Ann. §§ 222.01 &
County |:| 100% of fair market value, up to 222.02
Line from Schedule A/B: 1.1 any applicable statutory limit
2005 BMW 645¢i 200000 miles $1,000_00 - $1,000_00 Fla. Stat. Ann. § 222.25(1)
Rough Condition __ _____~_
Line from Schedule A/B: 3.1 m 100% of fair market value, up to

any applicable statutory limit
Location: 1015 Symphony isles Bivd, $80_00 - $80_00 Fla. Const. art. X, § 4(a)(2)
Apoiio Beach FL 33572 --~__ _-_-~_
L|ViNG ROOM m 100% of fair market value, up to
1 sofa 15 yrs $25 any applicable statutory limit

2 chairs 20 yrs $20

1 loveseat 35 yrs $10

1 coffee table 20 yrs $5

1 desk 50 yrs $10

2 book cases 20 yrs $10
Line from Schedule A/B: 6.1

 

Official Form 106C Schedule C: The Property You Ciaim as Exempt page 1 of 3
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com Best Case Bankruptcy

Case 8:16-bk-06284-CPl\/| Doc 17 Filed 08/18/16 Page 12 of 47

Debtor1 Nancy Kimball Me|lon

.Brief description of '
z chedule A/B tha" `

       

Location: 1015 Symphony isles Bivd,
Apoiio Beach FL 33572
BEDROOMS

3 bed 20 yrs $100

3 night stands 30yrs $15
6 lamps 20 yrs $5

1 chair 30 yrs $5

3 desk 20+ yrs $30

3 dressers 20+ yrs $50

5 book cases 20+ yrs $10
Line from Schedule A/B: 6.2

 

$215.00

Case number (if known)

 

Amount of the exemptio lai

   

’ Check only one baxter each exemption§

l . $215.00

m 100% of fair market value, up to
any applicable statutory limit

 

8:16-bk-06284

Sp\ finlasz atallh

  
 

 

 

exemption ' “

  

l=la'."const. art. x, § 4(a)(2)

 

Location: 1015 Symphony isles Bivd,
Apoiio Beach FL 33572
4.DiNiNG/KITCHEN

1 table 30+ yrs $25

12 chairs 20 yrs $24

1 china cabinent 30+ yrs $25

2 sets of 12 pc fiatware 30+ yrs $10
20 pots / pans 30+ yrs $5

Line from Schedule A/B: 6.3

' $89.00

l $89.00

m 100% of fair market value, up to
any applicable statutory limit

Fla. Const. art. X, § 4(a)(2)

 

Location: 1015 Symphony isles Bivd,
Apoiio Beach FL 33572

FAMiLY ROOM

2 sofas 20 yrs $5`

2 chairs 20 yrs $5

1 end table 50 yrs $5

3 lamps 20 yrs $10

Line from Schedule A/B: 6.4

$25.00

l $25.00

m 100% of fair market value, up to
any applicable statutory limit

Fla. Const. art. X, § 4(a)(2)

 

Location: 1015 Symphony isles Bivd,
Apoiio Beach FL 33572

PAT|O

1 tabie, 4 chairs, 2 iounges, 1 grill -
nominal value

Line from Schedule A/B: 6.5

$1.00

l $1.00

m 100% of fair market value, up to
any applicable statutory limit

Fla. Const. art. X, § 4(a)(2)

 

Location: 1015 Symphony isles Bivd,
Apoiio Beach FL 33572
NON-AFF|XED APPL|ANCES

1 fridge 4 yrs $20

1 freezer 4 yrs $20

1 washer 10 yrs $5

1 dryer 10 yrs $5

1 microwave 20 yrs $5

Line from Schedule A/B: 6.6

$45.00

' l $45.00

m 100% of fair market value, up to
any applicable statutory limit

Fla. Const. art. X, § 4(a)(2)

 

Location: 1015 Symphony isles Bivd,
Apol|o Beach Fl.. 33572

3 cell phones 2 yrs oid, 1 TV 10 yrs
old

Line from Schedule A/B: 7.1

$10.00

l $10.00

m 100% of fair market value, up to
any applicable statutory limit

Fla. Const. art. X, § 4(a)(2)

 

Misc coilectibles / books / pictures /
art

Location: 1015 Symphony isles Bivd,
Apoiio Beach FL 33572

Line from Schedule A/B: 8.1

$500.00

l $500.00

n 100% of fair market value, up to
any applicable statutory limit

Fla. Const. art. X, § 4(a)(2)

 

Official Form 106C

Schedule C: The Property You Ciaim as Exempt
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com

page 2 of 3
Best Case Bankruptcy

Case 8:16-bk-06284-CPl\/| Doc 17 Filed 08/18/16 Page 13 of 47

 

 

Case number (if known) 8:16-bk-06284
' =:.§Peoifio 'haltallo'*3

    

  
 
 

     

 

.,Cheok:' y on ex for each exemption ,

 

 

v l , . , s entire A/B » ,.
Misc. casual and work clothing $1 000_00 - $35_00 Fla. Const. art. X, § 4(a)(2)
Location: 1015 Symphony isles Bivd, __’_ -__--_
Apollo Beach FL 33572 13 100% ot fair market value, up to
Line from Schedule A/B: 11.1 any applicable statutory limit
401(k): Weiis Fargo 401(k) $35 000 00 - $35 000_00 Fla. Stat. Ann. § 222.21(2)
Line from Schedule A/B: 21 .1 4 ____,_*

|:| 100% of fair market value, up to

any applicable statutory limit

Profit Sharing Pian: Weiis Fargo $0_00 - $0_00 Fla. Stat. Ann. § 222.21(2)
Deferred Compensation Pian $89,000 _-___
not vested m 100% of fair market value, up to
Line from Schedule A/B: 21 .2 any applicable statutory limit

 

3. Are you claiming a homestead exemption of more than $160,375?
(Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)

lNo

l:l Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?

l:l No
l:l Yes
Official Form 106C Schedule C: The Property You Ciaim as Exempt page 3 of 3

Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com Best Case Bankruptcy

Case 8:16-bk-06284-CPl\/| Doc 17 Filed 08/18/16 Page 14 of 47

Fill in this information to identify your case:

Debtor 1 Nancy Kimball Me|lon

' Flrst Name Midd|e Name Last Name

Debtor 2

 

(Spouse if, fillng) First Name Middle Name Last Name

United States Bankruptcy Courtfor the: iVllDDLE DiSTR|CT OF FLOR|DA

 

Case number
(if known)

8:16-bk-06284

 

 

 

Official Form 106D

Schedule D: Creditors Who Have Ciaims Secured by Property

|:I Check if this is an
amended filing

12/15

Be as complete and accurate as possible. if two married people are filing together, both are equally responsible for supplying correct information. if more space
is needed, copy the Additionai Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case

number (if known).

1. Do any creditors have claims secured by your property?

ij No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.

- Yes. Fill in ali of the information below.
List Ail Secured Ciaims

 

 

 

 

 

 

 

 

 

 

 

 

. . . . . . Column A Column B Column C
2. List ali secured claims. if a creditor has more than one secured clalm, list the creditor separately
for each claim. if more than one creditor has a particular claim, list the other creditors in Part 2. As Amount of claim Value of collateral Unsecured
much as possib|e, list the claims in alphabetical order according to the creditors name. Do not deduct the that supports this portion
value of collateral claim if any
2.1 Bank of Tam pa Describe the property that secures the claim: $100,000.00 $864,069.00 ' $0.00
Cred“°‘“S Name 1015 Symphony isles Blvd Apoiio
Beach, FL 33572 Hil|sborough
County
Po Box 1 ;\psp|§f the date you file, the claim is: Check all that
Tampa, FL 33601 L_.l Contingent
Number, Street, City, State & Zip Code m Unliquldated
l:l Disputed .
Who owes the debt? Check one. Nature of |ien. Check all that app|y.
- Debtor 1 On|y l:l An agreement you made (such as mortgage or secured
m Debtor 2 only ear loan)
l:l Debtor 1 and Debtor 2 only l:l Statutory lien (such as tax lien, mechanic's lien)
m At least one of the debtors and another l:l Judgment lien from a lawsuit
l:l cheek if this claim relates to a l Other (inc|uding a right to OHset) Bifurcated Debt - Cross Coliateraiized
community debt
Opened
03/03 Last
Active
Date debt was incurred 6/22/16 Last 4 digits of account number 0303
2.2 Bank of Tam pa Describe the Property that secures the claim= $101,314.00 $241,800.00 $46,410.00
Cred“°‘”S Name 1013 Symphony isles Bivd Apoiio
Beach, FL 33572 Hil|sborough
County
Aofthdt f'i,th i' ‘:Chkll
POBOX1 enemy e aeyou le ecaimis ecathat
Tampa, FL 33601 |:| Contingent
Number. Street, City, State & Zip Code m Unliquidated
l:l Disputed
Who owes the debt? Check one. Nature of |ien. Check all that apply_
l Debtor 1 On|y l:l An agreement you made (such as mortgage or secured
m Debtor 2 only car loan)
m Debtor 1 and Debtor 2 only l:l Statutory lien (such as tax lien, mechanic's lien)
m At least one of the debtors and another l:l Judgment lien from a lawsuit
Official Form 106D Schedule D: Creditors Who Have Ciaims Secured by Property page 1 of4

Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com

Best Case Bankruptcy

Case 8:16-bl<-06284-CPI\/| Doc 17 Filed 08/18/16 Page 15 of 47

DebeI' 1 Nancy Kimball Me|lon

Case number (ifl<now)

 

First Name

m Check if this claim relates to a
community debt

Opened
03/03 Last
Active

Date debt was incurred 6/22/16

Middle Name

Last Name

|:l Other (incli.lding a right to offset)

8:16-bk-06284

 

Last 4 digits of account number 0303

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

2.3 BMW Financiai Services Describe the property that secures the claim: $0.00 Unknown Unknown
Creditor's Name BMW
--- 2 BMW Leases (see Schedule G)
. Afthdt f'l,h l"!Chklltht
5515 Parkcenter C"_ apsp|t;. e a e you le t e c aim is ec a a
Dublin, oH 43017 [;i Contingent
Number, Street, City, State & Zip Code m Ur`l|lquldated
m Disputed
Who owes the debt? Check one. Nature of |ien. Check all that apply.
- Debtor1 amy n An agreement you made (such as mortgage or secured `
n Debtor 2 only car loan)
m Debtor 1 and Debtor 2 only m Statutory lien (such as tax lien, mechanic's lien)
|:l At least one of the debtors and another l:l Judgment lien from a lawsuit
m Check if this claim relates to a m Other (including a right to offset)
community debt
Date debt was incurred LEASES Last 4 digits of account number LEASES
2.4 BMW Financiai Services Describe the property that secures the claim= $0.00 Unknown Unknown
Creditor's Name BMW
--- 2 BMW Leases (see Schedule G)
. A of the date o f`le, th |a' ' :Ch k ll th t
5515 Parkcenter Cir ap`;.y. y u ' e c 'm ls ec a a
Dub|in, OH 43017 |:l contingent
Number, sireei, ciiy, stale a zip code |:I unliquidated
|:l Dis uted
p
Who owes the debt? Check one. Nature of |ien. Check all that app|y.
- Debtgr 1 only m An agreement you made (such as mortgage or secured
m Debtor 2 only ear loan)
m Debtor 1 and Debtor2 only m Statutory lien (such as tax lien, mechanic's lien)
l:l At least one of the debtors and another l:l Judgment lien from a lawsuit
m Check if this claim relates to a |:| Other (inc|uding a right to offset)
community debt
Date debt was incurred LEASES Last 4 digits of account number LEASES
2 5 Rushmore Loan Mgmt
` Ser Describe the property that secures the claim: $186,896-00 $241,800-00 $0-00
Cred"°"S Name 1013 Symphony |sles Blvd Apollo
Beach, FL 33572 Hil|sborough
Ceuiity, 11 v m ,r l r. …t..mm
As ot the date ou fi|e, the claim is: Ch k ll th t
Pob 52708 apply y e° a a
lrvine, cA 92619 l;l Contingent
Number, street city, stale a zip code l:l Uniiquidaied
n Disputed
Who owes the debt? Check one. Nature of |ien. Check all that apply.
- Debtor 1 only l:l An agreement you made (such as mortgage or secured
l:l Debtor 2 only car |Oan)
m Debtor 1 and Debtor 2 only m Statutory lien (such as tax lien, mechanic's lien)
Official Form 106D Additionai Page of Schedule D: Creditors Who Have Ciaims Secured by Property page 2 of4

Software Copyright (c) 1996-2016 Best Case, LLC ~ www.bestcase.com

Best Case Bankruptcy

CaS€ 8:16-bk-06284-CP|\/| DOC 17

Deb10r1 Nancy Kimball Mellon

First Name

m At least one of the debtors and another

m Check if this claim relates to a
community debt

Opened
09101 Last
Active

Date debt was incurred 1/06/15

Middle Name

Case number (if know)

Last Name

m Judgment lien from a lawsuit
n Other (inc|uding a right to offset)

Filed 08/18/16 Page 16 of 47

8:16-bk-06284

 

 

8466

Last 4 digits of account number

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

2.6 Small Business Admin Describe the Property that Secures the elaim= $110,000.00 $864,069.00 $108,364.52
C’ed“°'“$ Name 1015 Symphony lsles Blvd Apollo
Agehey et US Beach, FL 33572 Hillsborough
Governmnet County
801 TOm Marfin Dl'ive As of the date you file, the claim is: Check all that
#120 app‘y-
Birmingham, AL 35211 m C°"““Qe"t
Number, Street, City, State & Zip Code m Un|iquldated
m Disputed
Who owes the debt? Check one. Nature of lien. Check all that apply.
- Debtor1 only m An agreement you made (such as mortgage or secured
m Debtor 2 only ear loan)
l:| Debtor 1 and Debtor 2 only m Statutory lien (such as tax lien, mechanic's lien)
l:l At least one of the debtors and another m Judgment lien from a lawsuit
|:l cheek if this claim relates to a l other (ineiuding a right to offset) Wholly Unsecured - to be stripped
community debt
Date debt was incurred Last 4 digits of account number
2.7 Statebridge Com pany Describe the Property that secures the claim: $760,166.00 $864,069.00 $0.00
Credit°"$ Name 1015 Symphony isles Blvd Apollo
Beach, FL 33572 Hil|sborough
County
A f h d f`l h | ` ' :
4600 S Syracuse St Ste 7 a;)]¢;- t e ate you le,t e c aim ls Check allmat
Denver, CO 80237 |:| Contingent
Number, Street, City, State & Zip Code m Un|iquidated
m Disputed
Who owes the debt? Check one, Nature of lien. Check all that app|y.
l Deb10r1 amy |:l An agreement you made (such as mortgage or secured
m Debtor 2 only car loan)
m Debtor 1 and Debtor 2 only m Statutory lien (such as tax lien, mechanic's lien)
m At least one of the debtors and another m Judgment lien from a lawsuit
L_.l Check if this claim relates to a l:l Other (inc|uding a right to offset)
community debt
Opened
03/02 Last
Active
Date debt was incurred 9/11/15 Last 4 digits of account number 3527
2 8 Symphéhy lSléS Ma$tét‘
' ASS Describe the property that secures the claim: $2,267-52 $864,069-00 $0-00
Cred“°"S Name 1015 Symphony lsles Blvd Apollo
Beach, FL 33572 Hil|sborough
clo |nga Bartlett C°u"ty
Afthdt f'|,thl":hkll
821 Symphony ls|es Blvd apsplc; e a eyou le e calm ls C ec a that
Apollo Beach, FL 33572 |:| Contingent
Number, Street, City, State & Zip Code n Un|iquidated
l:l Disputed
Otlicial Form 106D Additionai Page of Schedule D: Creditors Who Have Ciaims Secured by Property page 3 of 4

Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com

Best Case Bankruptcy

Case 8:16-bl<-06284-CPl\/| Doc 17 Filed 08/18/16 Page 17 of 47

 

Debtor 1 Nan§\LKimba|| |V|e\|on Case number (itknow)
First Name Middle Name Last Name

Who owes the debt? Check one. Nature of lien. Check all that apply.

l Debior 1 On|y i:i An agreement you made (such as mortgage or secured

m Debtor 2 only ear loan)

ij Debtor 1 and Debtor 2 only m Statutory lien (such as tax lien, mechanic's lien)

m At least one of the debtors and another l:| Judgment lien from a lawsuit
E| Check if this claim relates to a m Other (including a right to offset)

8:16-bk-06284

 

 

community debt

Date debt was incurred Last 4 digits of account number

 

Add the dollar value of your entries in Column A on this page. Write that number here:

if this is the last page of your form, add the dollar value totals from ali pages.
Write that number here:

List Others to Be Notified for a Debt That You Already Listed

 

$1,260,643.52

 

 

$1,260,643.52

 

 

 

Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For exampie, ita collection agency is
trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. if you do not have additional persons to be notified for any

debts in Part 1, do not t"lli out or submit this page.

ij

Name» Numbe"» St"eet» City' State & zip Code On which line in Part 1 did you enter the creditor? 2.8

Syphony isles

C/0 BUSh ROSS PA Last4 digits of account number_

Tiffany Love McElheran, Esq.
PO Box 3913
Tampa, FL 33601

 

Otncial Form 106D Additionai Page of Schedule D: Creditors Who Have Ciaims Secured by Property

Software Copyright (c) 1996-2016 Best Case, LLC v www.bestcase.com

page 4 of 4

Best Case Bankruptcy

Case 8:16`-bl<-06284-CPl\/| Doc 17 Filed 08/18/16 Page 18 of 47

Fill in this information to identify your case:

 

Debt0r1 Nancy Kimball Me|lon
' First Name Middle Name Last Name

Debtor 2
(Spouse if, Hling) First Name Middle Name Last Name

 

United States Bankruptcy Courtfor the: l\/||DDLE DlSTR|CT OF FLOR|DA

 

Case number 8:16-bk-06284
(ifi<nown) ij Check if this is an
` amended filing

 

 

 

Official Form 106E/F
Schedule ElF: Creditors Who Have Unsecured Ciaims 12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PR|OR|TY claims and Part 2 for creditors with NONPR|OR|TY claims. List the other party to
any executory contracts or unexpired leases that could result in a ciaim. Aiso list executory contracts on Schedule A/B: Property (Officiai Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Of‘ficiai Form 1066). Do not include any creditors with partially secured claims that are listed in
Schedule D: Creditors Who Have Ciaims Secured by Property. if more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the
|eft. Attach the Continuation Page to this page. if you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your
name and case number (if known).

Part 1: List A|i of Your PR|OR|TY Unsecured Ciaims
1. Do any creditors have priority unsecured claims against you?
i:i No. Go to Part 2.

 

- Yes.

2. List all of your priority unsecured claims. if a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each claim listed,
identify what type of claim it is. if a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority amounts; As much as
possible, list the claims in alphabetical order according to the creditors name. lt you have more than two priority unsecured claims, till out the Continuation Page ot
Part 1. if more than one creditor holds a particular claim, list the other creditors in Part 3.

(For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)

 

 

 

 

 

 

 

Total claim 'Priority Nonpriority
amount amount
$537,659.0
2.1 lRS Last 4 digits of account number 0 $537,659-00 $0-00
Priority Creditor's Name
PO Box 7346 When was the debt incurred?
Phiiade|phia, PA 19101
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one. n Contingent
- Debt0r1 ehly |:| unliquidated
i:i Debtor 2 only - Disputed
i:i Debtor 1 and Debtor 2 only Type of PR|OR|TY unsecured claim:
ij At least one of the debtors and another i:i Domestic support obligations
i:i Check if this Ciaim is for a community debt - Taxes and certain other debts you owe the government
is the Ciaim Subi'ect w °fi$ei? i:i Ciaims for death or personal injury while you were intoxicated
l NO m Other. Specity
|:i Yes

 

List All orYour NoNPRloRlTY unsecured claims

3. Do any creditors have nonpriority unsecured claims against you?
n No. You have nothing to report in this part. Submit this form to the court with your other schedules.

- Yes.

4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each ciaim. if a creditor has more than one nonpriority
unsecured claim, list the creditor separately for each claim. For`each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. if more
than one creditor holds a particular claim, list the other creditors in Part 3.lf you have more than three nonpriority unsecured claims'till out the Continuation Page of

' Part 2. \

Total claim

thcial Form 106 E/F Schedule E/F: Creditors Who Have Unsecured Ciaims Page 1 of 7
Software Copyright (c) 1996-2016 Best Case, LLC » www.bestcase.com 25054 Best Case Bankruptcy

Case 8:16-bl<-O6284-CPl\/| Doc 17 Filed 08/18/16 Page 19 of 47

Debtor1 Nancy Kimball Me|lon

4-1 Aes/goai Financiai

Nonpriority Creditor`s Name

PO Box 61047
Harrisburg, PA17106

 

Number Street City State Zip Code
Who incurred the debt? Check one.

- Debtor1 only

i:i Debtor 2 only

m Debtor 1 and Debtor2 only

i:i At least one of the debtors and another

m Check if this claim is for a community
debt

is the claim subject to offset?

- No
i:i Yes

Blaine Kern Artists, inc
Nonpriority Creditor's Name

1380 Port of New Orieans Pi
New Orieans, LA 70130

 

Number Street City State Zip Code
Who incurred the debt? Check one,

- Debtor1 only

i:i Debtor 2 only

i:l Debtor 1 and Debtor 2 only

i:i At least one of the debtors and another

i:i Check if this claim is for a community
debt

is the claim subject to offset?

Case number (if know) 8:16-bk-06284

 

Last 4 digits of account number 0001 $36,924.00
Opened 08/05 Last Active
6/30/16

When was the debt incurred?

 

As of the date you file, the claim is: Check all that apply

i:i Contingent

m Un|iquidated

i:i Disputed

Type of NONPR|OR|TY unsecured claim:
- Student loans

i:i Obligations arising out of a separation agreement or divorce that you did not
report as priority claims

m Debts to pension or profit-sharing plans, and other similar debts
i:i Other. Specify
Educationai

 

Last 4 digits of account number $3,265.00

When was the debt incurred?

5/26/2016

 

As of the date you file, the claim is: Check all that apply

m Contingent
m Unliquidated

i:i Disputed
Type of NONPR|OR|TY unsecured claim:

i:i Student loans

m Obligations arising out of a separation agreement or divorce that you did not
report as priority claims

 

 

 

 

 

 

 

- No i:i Debts to pension or profit~sharing plans, and other similar debts
i:| Yes l Other_ Spe¢ify Goods l Services - Art / Props
4.3 Chase Card Last 4 digits of account number 0071 $12,440_0()
Nonpriority Creditor`s Name
Opened 07/02 Last Active
Pq B¢_)x 15298 When was the debt incurred? 8/22/14
Wlimlngton, DE 19850
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
l Debtor1 only ij Contingent
|:| Debto, 2 On|y |:i unliquidated
m Debtor1 and Debtor 2 only - Disputed
i:i At least one of the debtors and another Type °f NONPR|OR|TY unsecured °iaimi
i:] Check if this claim is for a community [:| Student loans
debt m Obligations arising out of a separation agreement or divorce that you did not
is the claim subject to offset? report as priority claims
l NO m Debts to pension or profit-sharing plans, and other similar debts
Credit Card - Disputed because of 1099-C
cancellation of debt form dated 12/31/2015
- _ (form sent to both Debtor1 and Co-Debtor,
i:i Yes Oihei- Spe°'iy essentially Debt canciied twice).
Othcial Form 106 E/F Schedule E/F: Creditors Who Have Unsecured Ciaims Page 2 of 7

Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com

Best Case Bankruptcy

Case 8:16-bl<-O6284-CPl\/| Doc 17 Filed 08/18/16 Page 20 of 47

Dethr 1 Nancy Kimball Me|lon

m

 

 

Case number (ifl<now) 8:16-bk-06284

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Chase Card Last 4 digits of account number 2467 $638_00
Nonpriority Creditor`s Name
Opened 06/02 Last Active
Pq B?x 1 5298 When was the debt incurred? 6/10/16
Wlimington, DE 19850
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
- Debtor1 only i:i Contingent
i:i Debtor 2 only ij Unliquldated
m Debtor1 and Debtor 2 only m Disputed
l:i At least one of the debtors and another Type °r NONPRlORiTY unsecured claim:
ij Check it this claim is for a community m Student loans
debt |:l Obligations arising out ofa separation agreement or divorce that you did not
ls the claim subject to offset? report as priority claims
- NO m Debts to pension or profit-sharing plans, and other similar debts
l:| Yes l Other_ Specify Credit Card
4.5 E|ecfric Ee|s, |nc_ Last 4 digits of account number 8321 $2,885.00
Nonpriority Creditor's Name
13014 Gieneagies Pi When was the debt incurred? 11/4/2015
Riverview, FL 33579
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one,
- Debtor1 only m Contingent
m Debtor2 only m Unliquidated
i:i Debtor1 and Debtor2 only ij Disputed
i:i At least one of the debtors and another Type °r NONPRloRlTY unsecured claim:
n Check if this claim is for a community l:l Student loans
debt m Obligations arising out ot a separation agreement or divorce that you did not
is the claim subject to offset? report as priority claims
- No ij Debts to pension or profit-sharing plans, and other similar debts
l:l Yes l Other_ Speciiy Home and Yard Services
4.6 Guif Coast Coiiection Bureau Last4 digits cf account number 8550 $90.58
Nonpriority Creditor`s Name
5630 Marquesas Cir when was the debt incurred? 9/24/15
Sarasota, FL 34233
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
- Debtor1 only ij Coniingem
jj Debto, 2 only El unliquidated
m Debtor 1 and Debtor2 only - Disputed
l:i At least one of the debtors and another Type °f NONPRlORlTY unsecured claim:
i:i Check if this claim is for a community l:l Student loans
debt L_.i Obligations arising out of a separation agreement or divorce that you did not
is the claim subject to offset? report as priority claims
-` N0 i:i Debts to pension or profit-sharing plans, and other similar debts
Medicai Services - Disputed - insurance
- Biiiing Error - US Physicians Group
ij Yes the'- 596ch Originai Creditor
Official Form 106 E/F Schedule ElF: Creditors Who Have Unsecured Ciaims Page 3 of 7

Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com

Best Case Bankruptcy

Case 8:16-bl<-06284-CPl\/| Doc 17 Filed 08/18/16 Page 21 of 47

Debtor 1 Nancy Kimball Me|lon

m

Gu|f Coast Co|lection Bureau

 

 

Case number (if know) 8:16-bk-06284

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Last 4 digits of account number 9152 $230_40
Nonpriority Creditor's Name
5630 Marquesas Cir When was the debt incurred? 8[1/14
Sarasota, FL 34233
Number Street City State Z|p Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
l Debtor1 only m Contingent
jj Debtor 2 only |Il unliquidated
m Debtor1 and Debtor 2 only - Disputed
l:l At least one of the debtors and another Type °r NONPRlORlTY unsecured clarrn:
m Check if this claim is for a community l:l Student loans
debt l:l Obligations arising out of a separation agreement or divorce that you did not
ls the claim subject to offset? report as priority claims
- NO m Debts to pension or profit-sharing plans, and other similar debts
Medical Services - Disputed - insurance
- Bi||ing Error - US Physicians Group
iii Yes Other Specifv originai creditor
-4.8 Guif Coast Co||ection Bureau Last 4 digits cf account number 9152 $648.48
Nonpriority Creditor's Name
5630 Marquesas Cir when was the debt incurred? 3/1/14
Sarasota, FL 34233
Number Street City State le Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
- Debtor1 only g Contingent
[| Debtor 2 only l:l Unliquidated
m Debtor1 and Debtor 2 only - Disputed
m At least one of the debtors and another Type °r NoNPRlORlTY unsecured clerrnr
m Check if this claim is'for a community l:l Srudenl loans
debt m Obligations arising out of a separation agreement or divorce that you did not
ls the claim subject to offset? report as priority claims
- No m Debts to pension or profit-sharing plans, and other similar debts
Medical Services - Disputed - insurance
- Bi||ing Error - US Physicians Group
m Yes Other- SPeC‘fV Original Creditor
4.9 Morggn Stan|ey Last 4 digits of account number 2815 $41,542_22
Nonpriority Creditor's Name
Smifh Barney LLC When was the debt incurred? 2l10/15
clo Jaffe & Asher '
600 Third Ave
New York, NY10016
Number Street City State le Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
- Debtor 1 On]y m Contingent
l:l Debtor 2 only m Un|iquidated
m Debtor 1 and Debtor2 only - Disputed
m Af least one of the debtors and another Type of NoN.PR|oR|-l-Yeunsecured claim:
m Check if this claim is for a community l:l Studenl loans
debt l:l Obligations arising out of a separation agreement or divorce that you did not
ls the claim subject to offset? report as priority claims
- No l:l Debts to pension or profit-sharing plans, and other similar debts
- _ Judgement Creditor - amount disputed
m Yes ethel SPSCW subsequent payments made to creditor
Official Form 106 E/F Schedule E/F: Creditors Who Have Unsecured Ciaims Page 4 of 7

Software Copyright (c) 1996-2016 Best Case, LLC - wvi/w.bestcase.com

Best Case Bankruptcy

Case 8:16-bl<-06284-CPl\/| Doc 17 Filed 08/18/16 Page 22 of 47

Debtor1 Nancy Kimball Me|lon

 

 

 

Case number (if know) 8:16-bk-06284

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Software Copyright (c) 1996-2016 Best Case, LLC -www.bestcase.com

0 RObii'l LeStel' Last 4 digits of account number $3,800.00
Nonpriority Creditor's Name
722 South Boulevard When was the debt incurred? 7l19/2016
Tampa, FL 33606
Number Street City State le Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
- Debtor1 only m Contingent
|_'_| Deblol 2 Only El unliquidated
l:l Debtor1 and Debtor2 only - Disputed
m At least one of the debtors and another Type or NoNPRlORlTY unsecured clarrnr
m Check if this claim is for a community l:l Studenl loans
debt l:l Obligations arising out of a separation agreement or divorce that you did not
ls the claim subject to offset? report as priority claims l
- NO l:l Debts to pension or profit-sharing plans, and other similar debts
Ciaim for reimbursement for Outback Bowl
l:l Yes - Other. Specify Donation
4.1
l Sel‘l'lry Credf Last 4 digits of account number 3988 $7,647.00
Nonpriority Creditor's Name
2809 Grand Ave When was the debt incurred?
Everett, WA 98201
Number Street City State le Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
- Debtor1 only l:l Contingent
|] Deblol- 2 only m Unliquidated
l:l Debtor 1 and Debtor2 only - Disputed
l:l At least one of the debtors and another Type or NONPRlORlTY unsecured claim:
n Check if this claim is for a community m Student loans
debt l:l Obligations arising out of a separation agreement or divorce that you did not
ls the claim subject to offset? report as priority claims
. No m Debts to pension or profit-sharing plans, and other similar debts
n Yes - Other_ Specify 08 NOrdStl'Om FSb
4.1 . . .
2 UBS Financiai Services, |nc Last 4 digits or account number $69,050.00
Nonpriority Creditor's Name
c/o |V|jchae| D_ Lee, Esq_ When was the debt incurred?
180 N Stetson Ave, Ste 3700
Chicago, |L 60601
Number Street City State Z|p Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
- Debtor1 only n Contingent
m Debtor 2 only - Unliquidated
m Debtor1 and Debtor 2 only - Disputed
l:l At least one of the debtors and another Type or NONPR'OR'TY unsecured clarrn:
l:l Check if this claim is for a community l:l Student loans
debt l:l Obligations arising out of a separation agreement or divorce that you did not
ls the claim subject to offset? report as priority claims
- NO |:l Debts to pension or profit-sharing plans, and other similar debts
l:l Yes l Othel_ specify F|NRA Arbitration Case Number 15-03339
Official Form 106 E/F Schedule E/F: Creditors Who Have Unsecured Ciaims Page 5 of 7

Best Case Bankruptcy

Case 8:16-bl<-06284-CPl\/| Doc 17 Filed 08/18/16 Page 23 of 47

Debtor1 Nancy Kimball Me|lon

 

 

 

Case number (if know) 8:16-bk-06284

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Nonpriority Creditor's Name

Po Box 47504
San Antonlo, TX 78265

 

Number Street City State Z|p Code
Who incurred the debt? Check one.

- Debtor1 only

l:l Debtor 2 only

|:l Debtor1 and Debtor 2 only

l:l At least one of the debtors and another

m Check if this claim is for a community
debt
ls the claim subject to offset?

- No
m Yes

4.1 .
3 USaa SaVlngS Bank Last 4 digits of account number 2020 $4,964.00
Nonpriority Creditor's Name
Opened 7l24l11 Last Active
P° B°x 47§04 When was the debt incurred? 10/04/15
San Antonlo, TX 78265
Number Street City State le Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
- Debtor1 only l:l Contingent
\:j Debtol, 2 Only m Unliquidated
m Debtor 1 and Debtor 2 only - Disputed
l:l At least one of the debtors and another Type or NONPRlORlTY unsecured oldrrn:
l:l Check if this claim is for a community m Student loans
debt m Obligations arising out of a separation agreement or divorce that you did not
ls the claim subject to offset? report as priority claims
- No |:| Debts to pension or profit-sharing plans, and other similar debts
Credit Card - Disputed - Debtor only has 2
|:| Yes -. Othei- Spe°iiv accounts with USAA
4.1 .
4 USaa SaV|ngS Bank Last 4 digits of account number 5927 $3,012-00
Nonpriority Creditor's Name
' Opened 12/98 Last Active
P° Box 47§04 When was the debt incurred? 2l26l16
San Antonlo, TX 78265
Number Street City State le Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one. s
- Debtor1 only l:l Contingent
|:| Debtor 2 only m Unliquidated
l:l Debtor1 and Debtor 2 only m Disputed
m At least one of the debtors and another Type or NONPR|ORlTY unsecured clarrn:
m Check if this claim is for a community l:l Sludent loans _
debt m Obligations arising out of a separation agreement or divorce that you did not
ls the claim subject to offset? report as priority claims
- No m Debts to pension or profit-sharing plans, and other similar debts
m Yes - Other_ Speclfy Credit Card
4.1 .
5 USaa SaV|ngS Bank Last 4 digits of account number 1283 $1,748-00

Opened 07I11 Last Active
3/25/16

When was the debt incurred?

 

As of the date you file, the claim is: Check a|| that apply

m Contingent
l:| unliquidated

l:l Disputed
Type of NONPR|ORlTY unsecured claim:

l:l Student loans `

m Obligations arising out of a separation agreement or divorce that you did not
report as priority claims

|:| Debts to pension or profit-sharing plans, and other similar debts

l Othel_ Speclfy Credit Card

 

 

List Others to Be Notified About a Debt That You Already Listed
5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
is trying to collect from you for a debt you owe to someone else, list the original creditor in Par\s 1 or 2, then list the collection agency here. Simi|arly, if you

Official Form 106 E/F
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com

Schedule ElF: Creditors Who Have Unsecured Ciaims Page 6 of 7

Best Case Bankruptcy

Case 8:16-bl<-06284-CPl\/| Doc 17 Filed 08/18/16 Page 24 of 47

Debtor1 Nancy Kimball Me|lon

Case number (if know) 8:16-bk-06284

 

 

have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. |f you do not have additional persons to be
notified for any debts in Parts 1 or 2, do not fill out or submit this page.

Name and Address

Gulf Coast Col|ection Bureau
PO Box 21239

Sarasota, FL 34276

On which entry in Part 1 or Part 2 did you list the original creditor?
LineM of (Check one): m Part 1: Creditors with Priority Unsecured Ciaims

- Part 2: Creditors with Nonpriority Unsecured Ciaims

Last 4 digits of account number

 

Name and Address

Guif Coast Co||ection Bureau
PO Box 21239

Sarasota, FL 34276

On which entry in Part1 or Part 2 did you list the original creditor?
Line g of (Check one): L_..l Part 1: Creditors with Priority Unsecured Ciaims

- Part 2: Creditors with Nonpriority Unsecured Ciaims

Last 4 digits of account number

 

Name and Address

Gulf Coast Co|lection Bureau
PO Box 21239

Sarasota, FL 34276

On which entry in Part 1 or Part 2 did you list the original creditor?
Line § of (Check one): m Part 1: Creditors with Priority Unsecured Ciaims

- Part 2: Creditors with Nonpriority Unsecured Ciaims

Last 4 digits of account number

 

Add the Amou nts for Each Type of Unsecured Ciaim

 

6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each

type of unsecured claim.

 

 

 

 

 

Total Ciaim
6a. Domestic support obligations l 6a. $ 0_00
Total v
claims
from Fart1 6b. Taxes and certain other debts you owe the government 6b. $ 537 659_00
60. Ciaims for death or personal injury while you were intoxicated 6c. $ 0_00
6d. Other. Add all other priority unsecured claims. Write that amount here. 6d. $ 0_00
Ge. Total Priority. Add lines 6a through 6d. 6e. $ 537 659_00
Total Ciaim
6f. Student loans 6i. $ 36 924 00
__;
Total
claims
from Part 2 69. Obligations arising out of a separation agreement or divorce that 0 00
you did not report as priority claims 69- $ '
6h. Debts to pension or profit-sharing plans, and other similar debts 6h. $ 0_00
6i. Other. Add all other nonpriority unsecured claims. Write that amount 6i.
here. $ 151 ,960.68
6i. Total Nonpriority. Add lines 6f through 6i. 6l'- $ 188!884.68

Oflicia| Form 106 E/F

Schedule ElF: Creditors Who Have Unsecured Ciaims

Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com

 

 

 

Page 7 of 7
Best Case Bankruptcy

Case 8:16-bl<-06284-CPl\/| Doc 17 Filed 08/18/16 Page 25 of 47

Fill in this information to identify your case:
Dethr 1 Nancy Kimball Me|lon
First Name Middle Name Last Name

Debtor 2
(Spouse if, t'l|ing) First Name Middle Name Last Name

 

United States Bankruptcy Courtfor the: l\/l|DDLE DlSTRlCT OF FLOR|DA

 

Case number 8:16-bk-06284
(irknown) |:| Check if this is an

amended filing

 

 

 

Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases 12/15

Be as complete and accurate as possible. |f two married people are filing together, both are equally responsible for supplying correct
information. |f more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1. Do you have any executory contracts or unexpired |eases?
l:l No. Check this box and file this form With the court With your other schedules. You have nothing else to report on this form.

- Yes. Filll ln all of the information below even if the contacts of leases are listed on Schedule A/B.'Properfy (Official Form 106 A/B).

2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts
and unexpired leases.

 

 

Person or company with whom you have the contract or lease State what the contract or lease is for
Name, Number, Street, City, State and ZlP Code

2.1 Bmw Financiai Services Acct# 4002292614
5515 Parkcenter Cir Opened 12/28/15
Dub|in, OH 43017 AutoLease

2.2 Bmw Financiai Services l Acct# 4002300117
5515 Parkcenter Cir Opened 1l08/16
Dub|in, OH 43017 AutoLease

Official Form 106G Schedule G: Executory Contracts and Unexpired Leases Page 1 of1

Software Copyright (c) 1996-2016 Best Case, LLC -www.bestcase.com Best Case Bankruptcy

Case 8:16-bl<-06284-CPl\/| Doc 17 Filed 08/18/16 Page 26 of 47

Fill in this information to identify your case:

Deber 1 Nancy Kimball Me|lon
First Name Middle Name Last Name

 

Debtor 2 `
(Spouse if, flling) First Name Middle Name Last Name

 

United States Bankruptcy Court for the: l\/llDDLE DlSTR|CT OF FLOR|DA

 

Case number 8:16-bk-06284
(ifknown) _ L__l Check if this is an
amended filing

 

 

 

Official Form 106H
Schedule H: Your Codebtors 12/15

Codebtors are people or entities who are also liable for any debts `you may have. Be as complete and accurate as possible. lf two married
people are filing together, both are equally responsible for supplying correct information. lf more space is needed, copy the Additional Page,
fill it out, and number the entries in the boxes on the left. Attach the Additionai Page to this page. On the top of any Additionai Pages, write
your name and case number (if known). Answer every question.

1. Do you have any codebtors? (lf you are Hling a joint case, do not list either spouse as a codebtor.

l:l No
- Yes

2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
Arizona, California, ldaho, Louisiana, Nevada, New l\/lexico, Puerto Rico, Texas, Washington, and Wisconsin.)

- No. Go to line 3.

l:l Yes. Did your spouse, former spouse, or legal equivalent live With you at the time?

3.'ln Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown
in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official
Form 1060), Schedule ElF (Official Form 106E/F), or Schedule G (Official Form 1066). Use Schedule D, Schedule ElF, or Schedule G to fill

out Column 2.

Column 1: Your codebtor
Name, Number, Street, City, State and Z|P Code

3.1 Mark Me|lon
1015 Symphony lsles Blvd
Apollo Beach, FL 33572

Column 2.' The creditor to whom you owe the debt
Check all schedules that app|y:

l Schedule D, line 2.1
l:l Schedule E/F, line_
|:| Schedule G _

Bank of Tampa

 

3.2 lvlark lvlelloh
1015 Symphony lsles Blvd
Apollo Beach, FL 33572

l Schedule D, line 2.2
l:l Schedule E/F, line__
|:l Schedule G _

Bank of Tampa

 

3.3 Mark Me|lon
1015 Symphony lsles Blvd
Apollo Beach, FL 33572

l Schedule D, line 2.5
L_.l Schedule E/F, line

l:l Schedule G

Rushmore Loan Mgmt Ser

 

Official Form 106H
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com

Schedule H: Your Codebtors Page 1 of 2
Best Case Bankruptcy

Case 8:16-bl<-06284-CPl\/| , Doc 17 Filed 08/18/16 Page 27 of 47

D€ber 1 Nancy Kimball Me|lon Case number (ifknown) 8:16-bk-06284

Additionai Page to List More Codebtor

 

Column 1: Your codebtor l Column 2.' The creditor to whom you owe the debt
' Check all schedules that apply:
3-4 l1VlO==\1rl5< gilell<>rr\l l l B| d l schedule D, line 2.6
ymp °"y 5 es " l:l s h dule E/l= line
Apollo Beach, FL 33572 m S:h:du|e G ’

Small Business Admin

 

3.5 1Moalr;<lsvlello: l l B| d lSchedule D, lineL
ymp onyses v l:lShdl E/Fl'
Apollo Beach, FL 33572 g S:h:d:lz 9 ’ me

Statebridge Com pany

 

3.6 lyo:r:;hel|o: l l Bl d -Schedule D, lineL
ymp ony Ses v El h dl E/F l'
Apollo Beach, FL 33572 g§:h:d:l: @ ’ me

Sym phony lsles Master Ass

 

Official Form 106H Schedule H: Your Codebtors Page 2 of 2
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com Best Case Bankruptcy

Case 8:16-bl<-06284-CPl\/| Doc 17 Filed 08/18/16 Page 28 of 47

Fill in this information to identif

Debtor 1 Nancy Kimball Me|lon

 

Debtor 2
(Spouse, if filing)

 

United States Bankruptcy Coul‘t for the: lV|lDDLE D|STRlCT OF FLORlDA

 

Case number 8;16-bk_06284 Check if this is:
(Ifknown) m An amended filing

El A supplement showing postpetition chapter
13 income as of the following date:

OH|C|S| FOl"m 106| m
Schedule |: Your |ncome 12/15

Be as complete and accurate as possible. lf two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. lf you are married and not filing joint|y, and your spouse is living with you, include information about yo`ur
spouse. lf you are separated and your spouse is not filing with you, do not include information about your spouse. lf more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Describe Employment

1. Fill in your employment

 

 

 

 

 

‘ Debter 1

 

information.
lf you have more than onejob, . Employed - Employed
attach a separate page with Employment Statu$ m m
information about additional Not employed Not employed
employers. _ _ v .
OCCuPaflOn Prlvate Wealth Mgr v Sales Mgr
lnclude part-time, seasonal, or _ ' _ _
self-employed work. Employer S name Wells Fargo Advlsors Valmont lndustrles

 

OCCUpa“°" may i"°'Ude Student Emp'°y°"$ add'ess 4030 w Bey scout Blvd #150 1 valmont Plaza

or homemaker, if it applies.

 

Tampa, FL 33602 Omaha, NE 68154

H<>w long employed there? 3 yrs 10 mo approx 30 yrs
Give Details About Monthly income n

Estimate monthly income as of the date you file this form. lf you have nothing to report for any line, Write $0 in the space. include your non-filing
spouse unless you are separated.

lf you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. lf you need
more space, attach a separate sheet to this form.

 

List monthly gross wages, salary, and commissions (before all payroll

 

 

 

21 deductions). lf not paid monthly, calculate what the monthly Wage Would be. 2~ $ 15’500'00 $ 12’000'00
3. Estimate and list monthly overtime pay. v 3. +$ 0,00 +$ 0.00
4. Calcu|ate gross |ncome. Add line 2 + line 3. 4. $ 15,500.00 $ 12,000.00

 

 

 

 

 

Official Form 1061 . Schedule I: Your'Income page l

Debtor 1

10.

11.

12.

13.

Official Form 1061

Case 8:16-bl<-06284-CPl\/| Doc 17 Filed 08/18/16 Page 29 of 47

Nancy Kimball Me|lon

 

 

 

 

Copy line 4 here

List all payroll deductions:

5a. Tax, Medicare, and Sociai Security deductions

5h. Mandatory contributions for retirement plans

5c. Vo|untary contributions for retirement plans

Sd. Required repayments of retirement fund loans

5e. insurance '

5f. Domestic support obligations

59. Union dues

5h. Other deductions. Specify: Deferred Compensation

Add the payroll deductions. Add lines 5a+5b+50+5d+5e+5f+5g+5h.

Calcu|ate total monthly take-home pay. Subtract line 6 from line 4.

List all other income regularly received:

Ba. Net income from rental property and from operating a business,
profession, or farm
Attach a statement for each property and business showing gross
receipts, ordinary and necessary business expenses and the total
monthly net income.

8b. lnterest and dividends

8b. Fami|y support payments that you, a non-filing spouse, or a dependent
regularly receive
include alimony, spousal support, child support, maintenance, divorce
settlement, and property settlement

8d. Unemp|oyment compensation

8e. Sociai Security

8f. Other government assistance that you regularly receive
|nclude cash assistance and the value (if known) of any non-cash assistance
that you receive, such as food stamps (benefits under the Supplemental
Nutrition Assistance Program) or housing subsidies
Specify:

89. Pension or retirement income

8h. Other monthly income. Specify:

Add all other income. Add lines 8a+8b+80+8d+8e+8f+89+8h.

Calcu|ate monthly income. Add line 7 + line 9.

Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.

State all other regular contributions to the expenses that you list in Schedule J.

10.

Case number (if known)

8:16-bk-06284 »

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

ForDet§tori

4. $ ’ 1`5,506.66

se $ 1,800.00 $ 3,400.00
5h. $ o.oo $ o.oo
5a $ 1,500.00 $ 1,500.00
sd. $ 600.00 $ 620.00
se $ 4,966.94 $ 0.00
5f. $ 0.00 $ 0.00
59. $ o.oo r$ 0.00
5h.+ $ 4,400.00 + $ 0.00
6. $ 13,266.94 $ 5,520.00
7. $ 2,233.06 $ 6,480.00
se. $ o.oo $ o.oo
8b. $ 0.00 $ o.oo
se $ o.oo $ 0.00
8d. $ o.oo $ 0.00
se $ 0.00 $ 0.00
8f. $ 0.00 $ 0.00
89. $ 0.00 $ 0.00
ah.+ $ 0.00 + $ o.oo
9. $ 0.00 $ 0.00

$ 2,233.06 + $ 6,480.00 = $ 8,713-06

 

 

 

 

 

 

 

lnclude contributions from an unmarried partner, members of your household, your dependents your roommates, and
other friends or relatives
Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.

Specify:

Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
Write that amount on the Summary of Schedu/es and Statistica/ Summary of Certain Liabilities and Related Data, if it

 

applies

Do you expect an increase or decrease within the year after you file this form?

l
|:|

No.

11. `+$ 0.00

 

 

12. $ 8,713.06'

 

 

 

Combined `
monthly income

 

Yes. Explain: l

 

Schedule I: Your Income

page 2

Case 8:16-bk-06284-CPl\/| Doc 17 Filed 08/18/16 Page 30 of 47

Fill in this information to identify your case:

 

 

 

Debtor1 Nancy Kimball Me|lon CheCk ii this iSI

|:l An amended filing
Debtor 2 |:| A supplement showing postpetition chapter
(Spouse, ifflling) 13 expenses as of the following date:
United States Bankruptcy Courtfor the: l\/llDDLE DlSTRlCT OF FLORlDA l\/|l\/l / DD /YYYY

 

Case number 8:16-bk-06284

(lf known)

 

 

 

Official Form 106J
Schedule J: Your Expenses 12115

 

 

Be as complete and accurate as possible. |f two married people are filing together, both are equally responsible for supplying correct
information. |f more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Describe Your Househo|d

 

1. ls this,a joint case?

- No. Go to line 2.
l:l Yes. Does Debtor 2 live in a separate household?

i:i No
i:i Yes. Debtor 2 must file Ochial Form 106J-2, Expenses for Separate Household of Debtor 2.

2. Do you have dependents? |:| NO

 

 

 

 

 

Do not list Debtor 1 and - Yes Fill out this information for Dependent’s relationship to Dependent’s Does dependent
Debtor 2_ ’ each dependent .............. Debtor1 or Debtor 2 age live with you?
Do not state the n NO
dependents names Daughter 14 l Yes
|:l No
SOI`I 17 - Yes
|:l No
l:l Yes
l:l No
l `i:i Yes
3. Do your expenses include - NO

expenses of people other than

yourself and your dependents? m Yes

Estimate ¥our Ongoing Monthly Expenses

 

Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. lf this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

lnclude expenses paid for with non-cash government assistance if you know
the value of such assistance and have included it on Schedule I: Your Income
'(Official Form 106|.)

 

4. The rental or home ownership expenses for your residence, lnclude first mortgage
payments and any rentfor the ground or lot. - $ 10,000-00

lf not included in line 4:

4a. Real estate taxes 4a.

 

 

 

 

$ 0.00

4b. Property, homeowner’s, or renter’s insurance 4b. $ 0_00

4c. Home maintenance, repair, and upkeep expenses 4c. $ 500.00

4d. Homeowner’s association or condominium dues 4d. $ 350.00

5. Additionai mortgage payments for your residence, such as home equity loans 5. $ 0.00

 

Official Form 106J Schedule J: Your Expenses page 1

Case 8:16-bk-06284-CP|\/| DOC 17

Debtor1 Nancy Kimball Me|lon

6.

.e°."

11.
12.

13.
14.
15.

16.

17.

18.

19.

20.

21.
22.

23.

24.

Official Form 106J

Filed 08/18/16 Page 31 of 47

Case number (if known) 8:16-bk-06284

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Utilities:
6a. Electricity, heat, natural gas 6a $ 600_00
6b. Water, sewer, garbage collection 6b. $ 100.00
6c. Telephone, cell phone, lnternet, satellite, and cable services 6c. $ 200.00
6d. Other. Specify: Gas - Heritage Propane 6d. $ 250.00
Food and housekeeping supplies 7. $ 1,000.00
Childcare and children’s education costs 8. $ 3,345_00
Clothing, laundry, and dry cleaning 9. $ 650.00
Personal care products and services 10. $ 0_00
Medical and dental expenses 11. $ 1,000_00
Trans ortation. include as, maintenance, bu or r in fare.
Do notpinclude car payme%ts. S ta 12- $ 2’200'00
Entertainment, clubs, recreation, newspapers, magazines, and books 13. $ 2,000_00
Charitab|e contributions and religious donations 14. $ 2,000_00
lnsurance.
Do not include insurance deducted from your pay or included in lines 4 or 20.
15a. Life insurance 15a. $ 0.00
15b. Health insurance 15b. $ 0_00
15c. Vehicle insurance 150. $ 500.00
15d. Other insurancel Specify: 15d. $ 0_00
Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
Specify: 16. $ 0.00
lnsta||ment or lease payments:
17a. Car payments for Vehicle 1 17a. $ 0.00
17b. Car payments for Vehicle 2 17b. $ 0_00
17c. Other. Specify: 17c. $ 0.00
17d. Other. Specify: 17d. $ 0.00
Your payments of alimony, maintenance, and support that you did not report as
deducted from your pay on line 5, Schedule I, Your Income (Official Form 106|). 18- $ o'oo
Other payments you make to support others who do not live with you. $ 0,00
Specify: 19_
Other real property expenses not included irl lines 4 or 5 of this form or on Schedule I: Your Income.
20a. l\/lortgages on other property 20a. $ 0_00
20b. Real estate taxes 20b. $ 0.00
20c. Property, homeowner’s, or renter’s insurance 200. $ 0.00
20d. l\/laintenance, repair, and upkeep expenses 20d. $ 0.00
20e. Homeowner’s association or condominium dues 20c. $ 0_00
Other: Specify: 21. +$ 0.00
Calcu|ate your monthly expenses
22a. Add lines 4 through 21. $ 24,695.00
22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2 $
220. Add line 22a and 22b. The result is your monthly expenses $ 24,695.00
Calcu|ate your monthly net income.
23a. Copy line 12 (your combined monthly income) from Schedule l. 23a. $ 8,713,06
23b. Copy your monthly expenses from line 220 above. 23b. -$ 24,695.00
. r r m n hl ex enses from our monthl income.
230 $llfte)tr:;ltrl)t(i: yo:r mo>nth/y[/) net income.y y 230- $ '15,981-94

 

 

Do you expect an increase or decrease in your expenses within the year after you file this form?

For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a

modification to the terms of your mortgage?

- No.

 

 

l:l Yes. iExp|ain here:

 

Schedule J: Your Expenses

page 2

Case 8:16-bk-06284-CPl\/| Doc 17 Filed 08/18/16 Page 32 of 47

Fill in this information to identify your case:

Debtor 1 Nancy Kimball Me|lon
First Name Middle Name Last Name

Debtor 2
(Spouse if, filing) First Name Middle Name Last Name

 

United States Bankruptcy Court for the: l\/llDDLE D|STRlCT OF FLORlDA

 

Case number 8:16-bk-06284
(ifl<nown) |:| Check if this is an
amended filing

 

 

 

Official Form 106Dec
Declaration About an individual Debtor's Schedules 12/15

if two married people are filing together, both are equally responsible for supplying correct information.
You must file this form whenever you file bankruptcy schedules or amended schedules Making a false statement, concealing property, or

obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341,1519, and 3571.

Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

-No

l___l Yes. Name of person 4 Attach Bankruptcy Petition Preparer’s Notice,
Dec/aration, and Signature (Official Form 119)

 

Under pe alty of perjury, l declare that l have read the summary and schedules filed with this declaration and

  

 

 

 

 

that th and correct.
X l X
Nant:y lm'ball ll`6n Signature of Debtor 2
Signature of Debt 1
Date August 17, 2016 Date
Official Form 106Dec Declaration About an individual Debtor's Schedules

Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com Best Case Bankruptcy

Case 8:16-bk-06284-CPl\/| Doc 17 Filed 08/18/16 Page 33 of 47

Fill in this information to identify your case: Check as directed in lines 17 and 21:

According to the calculations required by this
Statement l

Debtor 1 Nancy Kimball Me|lon

Debtor 2
(Spouse, if filing)

1:| 1. Disposable income is not determined under
11 U.S.C. § 1325(b)(3).

 

United States Bankruptcy Court for the: Middle District of Florida

 

l 2. Disposable income is determined under 11
U.S.C. § 1325(b)(3).

 

Case number 8:16-bk-06284

(if known)

 

l:i 3. The commitment period is 3 years

- 4. The commitment period is 5 years.

 

 

 

l:l Check if this is an amended Hling

Official Form 122C-1
Chapter 13 Statement of Your Current Monthly income
and Calcu|ation of Commitment Period 12/15

 

 

Be as complete and accurate as possible. if two married people are filing together, both are equally responsible for being accurate. if more
space is needed, attach a separate sheet to this form. include the line number to which the additional information applies On the top of any
additional pages, write your name and case number (if known). '

Calcu|ate Your Average Monthly income

1. What is your marital and filing status? Check one only.
l:l Not married. Fill out Column A, lines 2-11.

- Married. Fill out both Columns Aand B, lines 2-11.

 

Fill in the average monthly income that you received fro_m ali sources, derived during the 6 full months before you file this bankruptcy case. 11 U.S.C. §
101(1OA). For example, if you are filing on September 15, the S-month period would be March 1 through August 31. if the amount of your monthly income varied during
the 6 months add the income for all 6 months and divide the total by 6. Fill in the result. Do not include any income amount more than once. For example, if both,
spouses own the same rental property, put the income from that property in one column only. lf you have nothing to report for any line, write $0 in the space.

 

 

Column A Column B
Debtor 1 Debtor 2 or
non-filing spouse

2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before all

 

payroll deductions). $ 19,635-09 $ 12,406-16
3. Aiimony and maintenance payments Do not include payments from a spouse if
Column B is filled in. $ 0.00 $ 0.00

 

4. All amounts from any source which are regularly paid for household expenses
of you or your dependents including child support. include regular contributions
from an unmarried partner, members of your household, your dependents parents,
and roommates. lnclude regular contributions from a spouse only if Column B is not
filled in. Do not include payments you listed on line 3. g $ 0'00 $ 0'00

5. Net income from operating a business,
profession, or farm

 

Gross receipts (before all deductions)
Ordinary and necessary operating expenses

 

  

 

 

 

 

 

 

Net monthly income from a business, profession, or fa $ W 0-00 mC',OP)' here '> $ 0.00 $ 0.00
6. Net income from rental and other real property ` g \ " j '
Gross receipts (before all deductions) $ 0-00
Ordinary and necessary operating expenses "'$ 1100 ‘
Net monthly income from rental or other real property $ 0-00 Copy here -> $ 0.00 $ 0.00
Official Form 1220-1 Chapter 13 Statement of Your Current Monthly income and Calcu|ation of Commitment Period page 1

Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com ~ Best Case Bankruptcy

Case 8:16-bk-06284-CPl\/| Doc 17 Filed 08/18/16 Page 34 of 47

Debtor1 Nancy Kimball Me|lon Case number (ifknown) 8216-bk-06284

 

 

7. interest, dividends, and royalties
8. Unemp|oyment compensation $ 0_00

 

 

 

Do not enter the amount if you contend that the amount received was a benefit under
the Sociai Security Act. lnstead, list it here:

For you $ 0.00
For your spouse $ 0.00

 

9. Pension or retirement income. Do not include any amount received that was a
benth under the Sociai Security Act. $ 0-00 $ 0.00

10. income from all other sources not listed above. Specify the source and amount.
Do not include any benefits received under the Sociai Security Act or payments
received as a victim ofa War crime, a crime against humanity, or international or
domestic terrorism. lf necessary, list other sources on a separate page and put the

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

total below.
$ 0.00 $ 0.00
$ 0.00 $ 0.00
Total amounts from separate pages, if any. + $ 0.00 $ 0.00
11. Calcu|ate your total average monthly income. Add lines 2 through 10 for _
each column. Then add the total for Column A to the total for Column B. $ 19’635‘09 + $ 123406-16 _ $ 32’041-25
Total average
monthly income
Determine How to Measure Your Deductions from income
12. Copy your total average monthly income from line 11. $ 32,041_25

 

13. Calcu|ate the marital adjustment. Check one:
I:l You are not married Fill in 0 below.
L_.l You rare married and your spouse is filing With you. Fill in 0 below.

- You are married and your spouse is not filing with you.

Fill in the amount of the income listed in line 11, Column B, that was NOT regularly paid for the household expenses of you or your
dependents such as payment of the spouse's tax liability or the spouse's support of someone other than you or your dependents

Below, specify the basis for excluding this income and the amount of income devoted to each purpose. lf necessary, list additional
adjustments on a separate page.

lf this adjustment does not apply, enter 0 below.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

$
$
+$
Total $ 0.00 Copy here=> - 0.00
14. Your current monthly income. Subtract line 13 from line 12. $ 32’041-25
15. Calcu|ate your current monthly income for the year. Fol|ow these steps:
15a. Copy line 14 here=,>t 1 $_32_'°_1.1£§.
l\/lultip|y line 15a by 12 (the number of months in a year). x 12
15b. The result is your current monthly income for the year for this part of the form. ........................................... $ 384’495-00
Official Form 122C-1 Chapter 13 Statement of Your Current Monthly income and Calculation of Commitment Period page 2

Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com Best Case Bankruptcy

Case 8:16-bk-06284-CPl\/| Doc 17 Filed 08/18/16 Page 35 of 47

Debel' 1 Nancy Kimball Me|lon Case number (ifknown) 8:16-bk-06284

 

 

16. Calcu|ate the median family income that applies to you. Fo|low these steps:

 

16a. Fill in the state in which you live. FL
16b. Fill in the number of people in your household 4 v
160. Fill in the median family income for your state and size of household $ 66,588.00

To Hnd a list of applicable median income amounts, go online using the link specified in the separate
instructions for this form. This list may also be available at the bankruptcy clerk's office.

17. How do the lines compare?

17a. i:i Line 15b is less than or equal to line 160. On the top of page 1 of this form, check box 1,4Dl’sposab/e income is not determined under
11 U.S.C. § 1325(b)(3). Go to Part 3. Do NOT fill out Calcu/ation of Your Disposable income (Official Form 122C-2).

17b. - Line 15b is more than line 16c. On the top of page 1 of this form, check box 2, Disposable income is determined under 11 U.S.C. §
1325(b)(3). Go to Part 3 and fill out Calcu|ation of ¥our Disposable income (Official Form 122C-2). On line 39 of that form, copy
your current monthly income from line 14 above.

Calcu|ate Your Commitment Period Under 11 U.S.C. § 1325(b)(4)

 

18. Copy your total average monthly income from line 11 . $ 32,041_25

 

19. Deduct the marital adjustment if it applies lf you are married, your spouse is not filing With you, and you
contend that calculating the commitment period under 11 U.S.C. § 1325(b)(4) allows you to deduct part of your
spouse's incomel copy the amountfrom line 13.

19a. lfthe marital adjustment does not apply, fill in 0 on line 19a. -$ 0.00

 

19b. Subtract line 19a from line 18. $ 32,041.25

 

 

 

20. Calcu|ate your current monthly income for the year. Fol|ow these steps:

 

 

 

 

20a. Copy line 19b $ 32,041-25
l\/lultiply by 12 (the number of months in a year). x 12

20b. The result is your current monthly income for the year for this part of the form $ 384,495-00

206. Copy the median family income for your state and size of household from line 16c __________________________________________________ $ 66,588.00

 

 

 

21. How clothe lines compare?

|:i Line 20b is less than line 200. Unless othen/vise ordered by the court, on the top of page 1 of this form, check box 3, The Commitment
period is 3 years. Go to Part 4.

l Line 20b is more than or equal to line 200. Unless othen/vise ordered by the court, on the top of page 1 of this form, check box 4, The
commitment period is 5 years Go to Part 4.

Sign Be|ow

B ` `n e e, under l of per' ryl lare that the information on this statement and in any attachments is true and correct.

X

 

 

Nancy Kimball`liiiellon
Signature of Debtor 1

Date August 17, 2016
l\/llVl / DD /YYYY
lf you checked 17a, do NOT fill out or file Form 122C-2.

 

 

 

lf you checked 17bl fill out Form 122C-2 and file it With this form. On line 39 of that form, copy your current monthly income from line 14 above.

 

Official Form 1220-1 Chapter 13 Statement of Your Current Monthly income and Calcu|ation of Commitment Period page 3
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com Best Case Bankruptcy

Case 8:16-bk-O6284-CP|\/| Doc 17 Filed 08/18/16 Page 36 of 47

 

Fill in this information to identify your case:

Debtor 1 Nancy Kimball Me|lon

 

Debtor 2
(Spouse, iffiling)

 

United States Bankruptcy Courtfor the: l\/lidd|e District of Florida

 

Case number 8:16-bk-06284
(if known) l:| Check if this is an amended filing

 

Official Form122C-2 v
Chapter 13 Calcu|ation of Your Disposable income 04/16

 

To fill out this form, you will need your completed copy of Chapter 13 Statement of Your Current Monthly Income and Calculation of
Commitment Period (Official Form 122C-1).

Be as complete and accurate as possible. if two married people are filing together, both are equally responsible for being accurate. if more
space is needed, attach a separate sheet to this form, include the line number to which additional information applies On the top any
additional pages, write your name and case number (if known).

Calcu|ate Your Deductions from Your income

 

The internal Revenue Service (|RS) issues National and Local $tandards for certain expense amounts Use these amounts to answer the
the questions in lines 6-15. To find the |RS standards go online using the link specified in the separate instructions for this form. This
information may also be available at the bankruptcy clerk’s office.

Deduct the expense amounts set out in lines 6-15 regardless of your actual expense. ln later parts of the form, you will use some of your actual
expenses if they are higher than the standards Do not include any,operating expenses that you subtracted from income in lines 5 and 6 of Form
1220-1, and do not deduct any amounts that you subtracted from your spouse's income in line 13 of Form 1220-1.

|f your expenses differ from month to month, enter the average expense.

Note: Line numbers 1-4 are not used in this form. These numbers apply to information required by a similar form used in chapter 7 cases

5. The number of people used in determining your deductions from income

 

Fill in the number of people who could be claimed as exemptions on your federal income tax return,
plus the number of any additional dependents whom you support. This number may be different from 4
the number of people in your household

 

 

 

National Standards You must use the |RS National Standards to answer the questions in lines 6-7.

6. Food, clothing, and other items: Using the number of people you entered in line 5 and the |RS National
Standards, fill in the dollar amount for food, clothing, and other items $ 1’509'00

7. Out-of-pocket health care allowance: Using the number of people you entered in line 5 and the |RS National Standards, fill in
the dollar amount for out-of-pocket health care. The number of people is split into two categories-people who are under 65 and
people who are 65 or older--because older people have a higher |RS allowance for health car costs lf your actual expenses are
higher than this |RS amount, you may deduct the additional amount on line 22.

 

 

 

Ochial Form 22C-2 Chapter 13 Calculation of Your Disposable income page 1
Software Copyright (c) 1996-2016 Best Case, LLC -www.bestcase.com Best Case Bankruptcy

Case 8:16-bk-O6284-CPl\/| Doc 17 Filed 08/18/16 Page 37 of 47

Debtor1 Nancy Kimball Me|lon

 

Case number (ifknown)

8:16-bk-06284

 

 

Peopie who are under 65 years of age

7a. Out-of-pocket health care allowance per person $
7b. Number of people who are under 65 X
7c. Subtota|. i\/lultiply line 7a by line 7b. $

Peopie who are 65 years of age or older

7d Out-of-pocket health care allowance per person $
7e. Number of people who are 65 or older X
7f. Subtotal. l\/lu|tiply line 7d by line 7e. $

7g. Totai. Add line 7c and line 7f

162.00

130.00

 

 

bankruptcy purposes into two parts:

- Housing and utilities - insurance and operating expenses

- Housing and utilities - Mortgage or rent expenses

9. Housing and utilities - Mortgage or rent expenses:

 
     

54
3
Copy here=> $ 162.00
130
1
Copy here=> $ 130.00
$ 292_00 Copy total here=>

 

 

 

9a. Using the number of people you entered in line 5, fill in the dollar amount

 

 

 

 

Local Standards You must use the lRS Local Standards to answer the questions in lines 8-15.

 

 

 

 

Based on information from the |RS, the U.S. Trustee Program has divided the |RS Local Standard for housing for

To answer the questions in lines 8-9, use the U.S. Trustee Program chart. To find the chart, go online using the link specified in the

separate instructions for this form. This chart may also be available at the bankruptcy clerk's office.

8. Housing and utilities - insurance and operating expenses: Using the number of people you entered in line 5, fill
in the dollar amount listed for your county for insurance and operating expenses

 

 

 

 

 

 

 

 

$ 292.00

 

 

613.00

 

 

listed for your county for mortgage or rent expenses $ 1’404'00
9b. Total average monthly payment for all mortgages and other debts secured by your home.
To calculate the total average monthly payment, add all amounts that are
contractually due to each secured creditor in the 60 months after you file
for bankruptcy. Next divide by 60.
, payment `
Bank of Tampa $ 661.00
Rushmore Loan Mgmt Ser $ 1,725.48
Statebridge Company $ 6,850.00
Copy Re eat this amount
9b. Total average monthly payment $ 9,236-48 here=> -$ 9,236.48 On lane 333.
90. Net mortgage or rent expense.
Subtract line 9b (tota/ average monthly payment) from line 9a (mon‘gage COPy
or rent expense). if this number is less than $0, enter $0. $ 0'00 here=> $ 0-00
10. if you claim that the U.S. Trustee Program's division of the |RS Local Standard for housing is incorrect and t
affects the calculation of your monthly expenses, fill in any additional amount you claim. $ 0'00
Explain why:
Ochial Form 122C-2 Chapter 13 Calcu|ation of Your Disposable income page 2

Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com

Best Case Bankruptcy

Case 8:16-bk-O6284-CPl\/| Doc 17 Filed 08/18/16 Page 38 of 47

Debtor1 Nancy Kimball Me|lon Case number (ifl<nown) 8116-bk-06284

 

 

 

11. Local transportation expenses: Check the number of vehicles for Which you claim an ownership or operating expense.

lIl 0. ecic line 14.
m 1. Go to line 12.

l 2 or more. Go to line 12.

12. Vehicle operation expense: Using the |RS Local Standards and the number of vehicles for which you claim the
operating expenses fill in the Operating Costs that apply for your Census region or metropolitan statistical area. $

more than two vehicles

Vh`i1 D 'th'l1:
°' '°° es°" e e '°e Blvlw---zBMw Leases(see schedule G)

 

13a. Ownership or leasing costs using |RS Local Standard .................................................. $ 471_00

13b. Average monthly payment for all debts secured by Vehicle 1.
Do not include costs for leased vehicles

To calculate the average monthly payment here and on line 13e, add all amounts that
are contractually due to each secured creditor in the 60 months after you file for
bankruptcy. Then divide by 60.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

13. Vehicle ownership or lease expense: Using the |RS Local Standards, calculate the net ownership or lease expense for each vehicle below.
You may not claim the expense if you do not make any loan or lease payments on the vehicle. |n addition, you may not claim the expense for

440.00

 

 

Name of each creditor for Vehicle 1 Average monthly
payment
BMW Financiai Services $ 885.00
Copy Repeat this
Total Average l\/lonthly Payment $ 885.00 here => -$ 885.00 :rr;c§§rt,en
13c. Net Vehicle 1 ownership or lease expense $O*F:_y |"e11
Subtract line 13b from line 13a. if this number is less than $0, enter $0. ..................... e:p;:e here
_ $ 0.00 => 0.00
Vehicle 2 Describe Vehicle 2: BMW --- 2 BMW Leases (see Schedule G)
13d Ownership or leasing costs using |RS Local Standard .................................................. $ 471_00
13e. Average monthly payment for all debts secured by Vehicle 2. Do not include costs for
leased vehicles
Name of each creditor for Vehicle 2 Average monthly
payment
BMW Financiai Services $ 661.00
Copy Repeat this y
Total average monthly payment $ 661.00 ::re _$ 661 .00 §§n:um en me
13f. Net Vehicle 2 ownership or lease expense COP_y net
subtract line 13e from line 13d. if this number is less then $0, enter $0. ....................... ;'::;°,::ezhere
$ 0.00 => $ 0.00
14. Public transportation expense: if you claimed 0 vehicles in line 11, using the |RS Local Standards, fill in the
Public Transportation expense allowance regardless of whether you use public transportation. 0'00
15. Additionai public transportation expense: lf you claimed 1 or more vehicles in line 11 and if you claim that you may
also deduct a public transportation expense, you may fill in What you believe is the appropriate expense, but you may
not claim more than the |RS Local Standard for Public Transportation_ $ o-oo
Official Form 1220-2 Chapter 13 Calcu|ation of Your Disposable income page 3

Software Copyright (c) 1996-2016 Best Case, LLC -www.bestcase.com

Best Case Bankruptcy

Case 8:16-bk-O6284-CPl\/| Doc 17 Filed 08/18/16 Page 39 of 47

DebiOl' 1 Nancy Kimball Me|lon Case number (ifknown) 811 6-bk-06284

 

 

 

Other Necessary Expenses rln addition to the expense deductions listed above, you are allowed your monthly expenses for
the following |RS categories

 

16. Taxes: The total monthly amount that you Wil| actually pay for federal, state and local taxes such as income taxes
self-employment taxes social security taxes, and l\/ledicare taxes You may include the monthly amount withheld from
your pay for these taxes However, if you expect to receive a tax refund, you must divide the expected refund by 12
and subtract that number from the total monthly amount that is withheld to pay for taxes

Do not include real estate, sales or use taxes $
17. involuntary deductions: The total monthly payroll deductions that your job requires such as retirement

contributions union dues and uniform costs

Do not include amounts that are not required by yourjob, such as voluntary 401(k) contributions or payroll savings $
18. Life insurance; The total monthly premiums that you pay for your own term life lnsurance. |f two married people are

filing together, include payments that you make for your spouse's term life lnsurance.

Do not include premiums for life insurance on your dependents for a non-filing spouse's life insurance, or for any form
of life insurance other than term. $

19, Court-ordered payments: The total monthly amount that you pay as required by the order of a court or
administrative agency, such as spousal or child support payments
Do not include payments on past due obligations for spousal or child support. You will list these obligations in line 35. $

20. Education: The total monthly amount that you pay for education that is either required:
- as a condition for yourjob, or
- for your physically or mentally challenged dependent child if no public education is available for similar services $

21. Childcare: The total monthly amount that you pay for chi|dcare, such as babysitting, daycare, nursery, and preschoo|.
Do not include payments for any elementary or secondary school education. $

22. Additionai health care expenses excluding insurance costs: The monthly amount that you pay for health care
that is required for the health and welfare of you or your dependents and that is not reimbursed by insurance or paid
by a health savings account. lnclude only the amount that is more than the total entered in line 7.

Payments for health insurance or health savings accounts should be listed only in line 25. $

23. Optionai telephone and telephone services: The total monthly amount that you pay for telecommunication services
for you and your dependents such as pagers, call Waiting, caller identification, special long distance, or business cell
phone service, to the extent necessary for your health and Welfare or that of your dependents or for the production of
income, if it is not reimbursed by your employer.

Do not include payments for basic home telephone, internet and cell phone service. Do not include self-employment

expenses such as those reported on line 5 of Ochia| Form 1220-1, or any amount you previously deducted. +$

Additionai Expense Deductions These are additional deductions allowed by the l\/leans Test.
/ Note: Do not include any expense allowances listed in lines 6-24.

25. Health insurance, disability insurance, and health savings account expenses The monthly expenses for health
insurance, disability insurance, and health savings accounts that are reasonably necessary for yourse|f, your spouse, or

 

your dependents

Health insurance $ 587.19

Disability insurance $ 0.00

Health savings account + $ 473.08

Total $ 1,060_27 Copy total here=> $

 

 

 

Do you actually spend this total amount?
l:i No. How much do you actually spend?

l- Yes $

26. Continued contributions to the care of household or family members The actual monthly expenses that you will
continue to pay for the reasonable and necessary care and support of an elder|y, chronically ill, or disabled member of
your household or member of your immediate family who is unable to pay for such expenses These expenses may
include contributions to an account of a qualified ABLE program. 26 U.S.C. § 529A(b) $

27_ Protection against family violence. The reasonably necessary monthly expenses that you incur to maintain the
safety of you and your family under the Fami|y Violence Prevention and Services Act or other federal laws that apply.

 

By law, the court must keep the nature of these expenses confidential. $

Official Form 1220-2 Chapter 13 Calcu|ation of Your Disposable income
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com

4,987.17

1,666.66

1,500.00

24. Add all of the expenses allowed under the |RS expense allowances $ 13,715-83
Add lines 6 through 23.

1,060.27

0.00

0.00

0.00

2,708.00

0.00

 

0.00

0.00

 

page 4
Best Case Bankruptcy

 

Case 8:16-bk-06284-CPl\/| Doc 17 Filed 08/18/16 Page 40 of 47

 

 

 

 

 

 

 

 

 

 

 

 

 

  
  

 

 

 

 

 

 

 

 

 

Debtor1 Nancy Kimball Me|lon case number (ifknown) 8:16-bk-06284
28. Additionai home energy costs Your home energy costs are included in your insurance and operating expenses on
line 8.
lf you believe that you have home energy costs that are more than the home energy costs included in expenses on line
8, then fill in the excess amount of horne energy costs
You must give your case trustee documentation of your actual expenses and you must show that the additional
amount claimed is reasonable and necessary. 337-00
29. Education expenses for dependent children who are younger than 18. The monthly expenses (not more than
$160.42* per chi|d') that you pay for your dependent children who are younger than 18 years old to attend a private or
public elementary or secondary school.
You must give your case trustee documentation of your actual expenses and you must explain why the amount
claimed is reasonable and necessary and not already accounted for in lines 6-23.
* Subject to adjustment on 4/01/19, and every 3 years after that for cases begun on or after the date of adjustmentl 0'00
30. Additional food and clothing expense. The monthly amount by which your actual food and clothing expenses are
higher than the combined food and clothing allowances in the |RS National Standards That amount cannot be more
than 5% of the food and clothing allowances in the |RS National Standards,
To find a chart showing the maximum additional allowance, go online using the link specified in the separate
instructions for this form. This chart may also be available at the bankruptcy clerk's oche.
You must show that the additional amount claimed is reasonable and necessary. 52'00
31. Continuing charitable contributions. The amount that you will continue to contribute in the form of cash or financial
instruments to a religious or charitable organization. 11 U.S.C. § 548(d)(3) and (4).
Do not include any amount more than 15% of your gross monthly income. 4’806'19
32. Add all of the additional expense deductions. $ 6»255-46
Add lines 25 through 31. l
Deductions for Debt Payment
33. For debts that are secured by an interest in property that you own, including home mortgages vehicle
loans, and other secured debt, fill in lines 33a through 33e.
To calculate the total average monthly payment, add all amounts that are contractually due to each secured
creditor in the 60 months after you file for bankruptcy. Then divide by 60. w v
Mortgages on your home 'Aver'ag t
33 Y'F‘§?,E.‘?*
33a. Copy line 9b here => $ 9,236.48
Loans on your first two vehicles
33b. Copy line 13b here => $ 885.00
33e. copy line 13e here => $ 661 .00
33d. List other secured debts:
Name of»each creditor for other secured debt identify property that secures the debt Does pa ,/ment
include taxes
or insurance?
l:l No
_NQNE- l:l Yes $
l:l No
l:l Yes $
l:l No
l:l Yes + $
Copy
total
33e Total average monthly payment, Add lines 33a through 33d ______________________________________________ 10,782.48 here=> 10,782.48
Official Form 1220-2 Chapter 13 Calcu|ation of Your Disposable |ncome page 5

Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com

Best Case Bankruptcy

Case 8:16-bk-06284-CPl\/| Doc 17 Filed 08/18/16 Page 41 of 47

Debtor1 Nancy Kimball Me|lon Case number (ifknown)

 

34. Are any debts that you listed in line 33 secured by your primary residence, a vehicle,
or other property necessary for your support or the support of your dependents?

l:l No. Go to line 35.

- Yes. State any amount that you must pay to a creditor, in addition to the payments
listed in line 33, to keep possession of your property (called the cure amount).
Next, divide by 60 and fill in the information below.

1013 Symphony lsles Blvd Apollo
Rushmore Loan Mgmt Ser Beach, FL 33572 Hil|sborough county $

8:16-bk-06284

 

Name of the creditor ldentify property that secures the debt Total cure`amount

 

1015 Symphony lsles Blvd Apollo

 

Statebridge Company Beach, FL 33572 Hil|sborough county $
$

 

Monthly cure
amount

55,888.21 +60 = $

138,556.02 +60 = $

+60=+$

 

Total $

 

3,240.74

Copy
total
here=>

 

 

35. Do you owe any priority claims - such as a priority tax, child support, or alimony - that
are past due as of the filing date of your bankruptcy case? 11 U.S.C. § 507.

l:l No. Gotoline36.

- Yes. Fill in the total amount of all of these priority claims. Do not include current or
ongoing priority claims such as those you listed in line 19.

Total amount of all past-due priority claims $

36. Projected monthly Chapter 13 plan payment

Current multiplier for your district as stated on the list issued by the Administrative
Office of the United States Courts (for districts in Alabama and North Carolina) or by
the Executive Office for United States Trustees (for all other districts).

To find a |ist»of district multipliers that includes your district, go online using the link specified in the
separate instructions for this form. This list may also be available at the bankruptcy clerk's office.

537,659.00

+60

 

Average monthly administrative expense $

 

Copy total
here=> $

 

 

37. Add all of the deductions for debt payment.
Add lines 33e through 36.

Total Deductions from |ncome

38. Add all of the allowed deductions.

Copy line 24, All of the expenses allowed under lRS

expense allowances 13,715.83
6,255.46

Copy line 37, A// of the deductions for debt payment +$ 22,984_20

€9%

Copy line 32, All of the additional expense deductions

 

 

 

 

 

Total deductions .................................................................... $ 42,955.49 Copy total here=>

931 .47

2,309.27

$ 3,240.74

$ 8,960.98

 

 

$ 22,984.20

 

 

$

42,955.49

 

 

Official Form 1220-2 Chapter 13 Calculation of Your Disposable |ncome
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com

page 6
Best Case Bankruptcy

Case 8:16-bk-06284-CPl\/| Doc 17 Filed 08/18/16 Page 42 of 47

Debtor1 Nancy Kimball Me|lon Case number (ifknown) 8:16-bk-06284

 

 

Determine Your Disposable income Under 11 U.S.C. § 1325(b)(2)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

39. Copy your total current monthly income from line 14 of Form 122C-1, Chapter 13
Statement of Your Current Monthly Income and Calculation of Commitment Period. $ 32,041-25
40. Fill iri any reasonably necessary income you receive for support for dependent
children. The monthly average of any child support payments foster care payments or
disability payments for a dependent child, reported in Part l of Form 1220-1, that you
received in accordance With applicable nonbankruptcy law to the extent reasonably
necessary to be expended for such chi|d. $ 0'00
41. Fill in all qualified retirement deductions The monthly total of all amounts that your
employer withheld from wages as contributions for qualified retirement plans, as specified
in 11 U.S.C. § 541(b)(7) plus all required repayments of loans from retirement plans, as
specified in 11 u.s.c. § 362(o)(19). $ °-°0
42. Total of all deductions allowed under 11 U.S.C. § 707(b)(2)(A). Copy line 38 here _______=> $ 42,955.49
43. Deduction for special circumstances lf special circumstances justify additional
expenses and you have no reasonable alternative, describe the special circumstances and
their expenses You must give your case trustee a detailed explanation of the special
circumstances and documentation for the expenses
Describe the special circumstances Amount of expense
$
$
$
Copy
Total $ 0-00 here=> $ 0.00
Copy
44_ Total adjustments Add iinee 40 through 43. => $ 42,955.49 here=> -$ 42,955.49
45. Calcu|ate your monthly disposable income under § 1325(b)(2). Subtract line 44 from line 39. $ -10,914.24
Change in income or Expenses
46. Change iri income or expenses lfthe income in Form 122C-1 or the expenses you reported in this form
have changed or are virtually certain to change after the date you filed your bankruptcy petition and during the
time your case will be open, fill in the information below. For example, if the wages reported increased after
you filed your petition, check 122C-1 in the first column, enter line 2 in the second column, explain why the
Wages increased, fill in when the increase occurred, and fill in the amount of the increase.
Form Line Reason for change ' Date of change increase or Amount of change
decrease?
|:l 1220-1 m increase
m 1220-2 m Decrease $
m 1220-1 m increase
I:| 1220-2 m Decrease $
g 1220-1 ` m increase
m 1220-2 1 |:i Decrease $
m 1220-1 m increase
|:| 1220-2 El Decrease $
Official Form 1220-2 Chapter 13 Calcu|ation of Your Disposable income page 7

Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com Best Case Bankruptcy

Case 8:16-bk-06284-CPl\/| Doc 17 Filed 08/18/16 Page 43 of 47

Debtor1 Nancy Kimball Me|lon Case "Umbe'(""""°‘””) 8516"°"'06284

 

 

Sign Beiow

By signing here, under penalty of perjury you declare that the information on this statement and in any attachments is true and correct.

x MM/(M

Nancy Kimball Metlon / " ""
Signature of Debtor 1

Date August 17, 2016
|\/||\/l / DD /YYYY

 

 

 

Ochial Form 122C-2 Chapter 13 Calcu|ation of Your Disposable income page 8
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com Best Case Bankruptcy

Case 8:16-bk-06284-CPl\/| Doc 17 Filed 08/18/16 Page 44 of 47

 

Debtor1 Nancy Kimball Me"On Case number (ifknown) 8:16-bk-06284

Current Monthly Income Details for the Debtor

Debtor Income Details:
Income for the Period 01l01/2016 to 06/30/2016.

Line 2 - Gross wages salary, tips, bonuses overtime, commissions
Source of Income: Employment - Wells Fargo

Year-to-Date Income:

Total Year-to-Datc Income: §117,810.54 from check dated 6/17/2016 .
Average Monthly Income: §19,635.09 .

Oficial Form 122C-2 Chapter 13 Calcu|ation of Your Disposable income
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com

page 9
Best Case Bankruptcy

Case 8:16-bk-06284-CPl\/| Doc 17 Filed 08/18/16 Page 45 of 47

` Debtor1 Nancy Kimball Me|lon Case number (ifknown) 8:16-bk-06284

 

Current Monthly Income Details for the Debtor's Spouse

Spouse Income Details:
Income for the Period 01l01l2016 to 06/30/2016.

Line 2 - Gross wages salary, tips bonuses overtime, commissions
Source of Income: Employment - Valmont lndustries

Year-to-Date Income:

Total Year-to-Date Income: $74 436.96 from check dated 6/30/2016 .
Average Monthly Income:_ $12,406.16 .

 

Official Form 1220-2 Chapter 13 Calcu|ation of Your Disposable income page 10
Software Copyright (c) 1996-2016 Best Case, LLC -www.bestcase.com Best Case Bankruptcy

Case 8:16-bk-06284-CPl\/| Doc 17 Filed 08/18/16 Page 46 of 47

United States Bankruptcy Court
Middle District of Florida

In re Nancy Kimball Me|lon Case No. 8:16-bk-06284

 

Debtor(s) Chapter 1 3

 

VERIFICATION OF CREDITOR MATRIX

The above-named Debtor hereby verifles that the attached list of creditors is true and correct to the best of his/her knowledge

Date: August 17, 2016

 

 

Nancy Kimball Menon
Signature of Debtor '

Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com Best Case Bankruptcy

Case 8:16-bk-06284-CP|\/| DOC 17 Filed 08/18/16

Nancy Kimball l\/lellon
1015 Symphony lsles Blvd
Apollo Beach, FL 33572

Perry G. Gruman, Esq.
Perry G. Gruman, P.A.
3400 W. Kennedy Blvd.
Tampa, FL 33609

Aes/goal Financiai
PO Box 61047
Harrisburg, PA 17106

Bank of Tampa
PO Box 1
Tampa, FL 33601

Blaine Kern Artists inc
1380 Port of New Orleans Pl
New Orleans LA 70130

BMW Financiai Services
5515 Parkcenter Cir
Dub|in, OH 43017

Chase Card
Po Box 15298
Wilmington, DE 19850

Electric Eels, lnc.
13014 Gieneagies Pl
Riverview, FL 33579

Guif Coast Collection Bureau
5630 Marquesas Cir
'Sarasota, FL 34233

Guif Coast Collection Bureau
PO Box 21239
Sarasota, FL 34276

|RS
PO Box 7346
Philadelphia, PA 19101

Mark l\/lellon
1015 Symphony lsles Blvd
Apol|o Beach, FL 33572 `

Morgan Stanley
Smith Barney LLC
c/o Jaffe & Asher
600 Third Ave

New York, NY10016

Robin Lester
722 South Boulevard
Tampa, FL 33606

Rushmore Loan Mgmt Ser
Pob 52708
lrvine, CA 92619

Sentry Credt
2809 Grand Ave
Everett, WA 98201

Small Business Admin
Agency of US Governmnet
801 Tom Martin Drive #120
Birmingham, AL 35211

Statebridge Company
4600 S Syracuse St Ste 7
Denver, CO 80237

Page 47 of 47

Symphony lsles Master Ass
c/o lnga Bartlett `

821 Symphony lsles Blvd
Apo|lo Beach, FL 33572

Syphony lsles

c/o Bush Ross PA

Tiffany Love McElheran, Esq.
PO Box 3913

Tampa, FL 33601

UBS Financiai Services inc
c/o l\/lichae| D. Lee, Esq.

180 N Stetson Ave, Ste 3700
Chicago, lL 60601

Usaa Savings Bank
Po Box 47504
San Antonlo, TX 78265

